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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY
          ----------------------------------------------------------------------X
          LUKE ABLE; GILBERT ACKERSON; DESTINY
          ALGER, AS PERSONAL REPRESENTATIVE OF THE                                  Index No. _________/2022
          ESTATE OF JAMES J. ALGER; GREGORY DEAN
                                                                                    SUMMONS
          ALVERSON; RICHARD ASHLEY; SHENAY BENNETT;
          LARRY BONHAM; GERALD BOYD; BRAD BOYER;                                    Venue is designated pursuant to
          MARGARET A. BRANNON; MARY ANN BRYANT;                                     CPLR § 503(a) & (c) in that
          JOHN BUTLER; CHARLES CHISLER; JAMES                                       NEW YORK in this county.
          COATES; ADRIAN S. COLLIER; GUENEVERE
          COURSEY; JENNIFER DEAN; MICHAEL DEVEAU;
          MICHAEL DEVITT; PERRY DUNCAN; DION
          EDWARDS SR.; RON FOLDS; APRIL FORD;
          BARBARA FREEMAN, AS PERSONAL
          REPRESENTATIVE OF THE ESTATE OF HAROLD
          FREEMAN; ELFEGO GABALDON; MICHAEL
          GALLOWAY; KEITH JASON GOUGH; DAVID
          GUNTER; RANDY GUY; RICHARD HAYES; NATALIE
          HENDERSON; WILLIAM HINES; PAUL HOEHN;
          ROBERT IRBY; DAVID IVEY; EDDIE JACKSON;
          BILLIE JAMES; KYLE JAYNE; BERT JENKINS;
          ROBERT A. JETT; MARY A JONES; MELISSA JONES;
          JAMES LANDRETH; DONALD JAMES LASHER JR.;
          VALERIE LING; MARK LOUDEN; DAWN LUCAS;
          WAYNE MALLORY; DERRIEL MARTIN; GREGORY
          MARTIN; JEFFREY MASSEY; JAY MCMILLIAN;
          KATHRYN MEDLIN; PETER METZ; TONY
          MUHAMMAD; JULIUS MURRAY; DAVID MYERS;
          RAMON NAVARRO; DOMINICK NIGRA; PATRICK
          O`DOWD; DENNIS OLSON; RODRIGO ORDONEZ;
          RONALD PAFFUMI; GRAYSON PAPIERSKI;
          GREGORY PAPPAS; RONALD PAQUETTE; JAMES
          PARNELL; PARKE PETERSON; RANDALL PROFFITT;
          KENNETH QUEEN; DAVID RHOADES; DALE
          RICHARDSON; ANNE RIGGS; JOEY SHORT; DAVID
          SMALLWOOD; KENNETH SMITH; JAMES SPEARS;
          JOHN SPURGEON; TIMOTHY STENCEL; CHARLES
          SUTTER; CLARENCE THOMPSON; GEORGE
          THOMPSON; TYRONE UNDERWOOD; JAMES VAN
          SKIVER; HERBERT VANCE; EDWARD WALES;




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           BRUCE WALLACE; CHESTER WHITTAKER;
           WILLARD WRIGHT JR; KYLE YAPLE; AND STEVEN
           YOUNG,

                                      Plaintiffs,


           -against -

           THE 3M COMPANY, f/k/a Minnesota Mining and
           Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
           AMEREX CORPORATION, ARKEMA INC.,
           ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
           COMPANY, CARRIER GLOBAL CORPORATION,
           CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
           CHEMICALS, INC., CLARIANT CORPORATION,
           individually and as successor in interest to Sandoz Chemical
           Corporation, CORTEVA, INC., individually and as
           successor in interest to DuPont Chemical Solutions
           Enterprise, DEEPWATER CHEMICALS, INC., DUPONT
           DE NEMOURS INC., individually and as successor in
           interest to DuPont Chemical Solutions Enterprise, DYNAX
           CORPORATION, E. I. DUPONT DE NEMOURS AND
           COMPANY, individually and as successor in interest to
           DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
           INC., individually and as successor in interest to Kidde Fire
           Fighting, Inc., NATION FORD CHEMICAL COMPANY,
           THE CHEMOURS COMPANY, individually and as
           successor in interest to DuPont Chemical Solutions
           Enterprise, THE CHEMOURS COMPANY FC, LLC,
           individually and as successor in interest to DuPont
           Chemical Solutions Enterprise, and TYCO FIRE
           PRODUCTS, LP, individually and as successor in interest
           to The Ansul Company, and COMPANY XYZ 1-20,
           fictitious names whose present identities are unknown,

                              Defendants.
           ----------------------------------------------------------------------X

          To the above-named Defendant:

                  You are hereby summoned to answer the Complaint in this action, and to serve a copy of

          your Answer, or, if the Complaint is not served with this Summons, to serve a Notice of

          Appearance on the Plaintiffs’ attorneys within twenty (20) days after the service of this Summons,




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          exclusive of the day of service, where service is made by delivery upon you personally within the

          state, or, within thirty (30) days after completion of service where service is made in any other

          manner. In case of your failure to appear or answer, judgment will be taken against you by default

          for the relief demanded in the Complaint.

          Dated: New York, New York
                 March 4, 2022

                                                                      Napoli Shkolnik, PLLC
                                                                      Attorneys for Plaintiff

                                                                      /s/ Patrick J. Lanciotti
                                                                      Patrick J. Lanciotti, Esq.
                                                                      360 Lexington Avenue, 11th Floor
                                                                      New York, New York 10017
                                                                      212-397-1000
                                                                      PLanciotti@napolilaw.com

          To:

          3M COMPANY
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE 19808

          AGC CHEMICALS AMERICAS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          AMEREX CORPORATION
          c/o James M. Proctor II
          2900 Highway 280
          Suite 300
          Birmingham, AL 35223




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          ARCHROMA U.S. INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          ARKEMA INC.
          900 First Avenue
          King of Prussia, PA 19406

          BUCKEYE FIRE EQUIPMENT COMPANY
          c/o A Haon Corporate Agent, Inc.
          29225 Chagrin Blvd, Suite 350
          Pepper Pike, OH 44122

          CARRIER GLOBAL CORPORATION
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          CHEMDESIGN PRODUCTS INC.
          c/o Corporation Service Company
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMGUARD INC.
          c/o The Prentice-Hall Corporation System, Inc.
          251 Little Falls Drive
          Wilmington, New Castle, DE, 19808

          CHEMICALS, INC.
          c/o Ashok K. Moza
          12321 Hatcherville
          Baytown, TX 77520

          CLARIANT CORPORATION
          c/o Corporation Service Company
          8040 Excelsior Drive, Suite 400
          Madison, WI 53717




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          CORTEVA, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DEEPWATER CHEMICALS, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DUPONT DE NEMOURS INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          DYNAX CORPORATION
          c/o Corporate Systems LLC
          3500 S. Dupont Highway
          Dover, DE 19901

          E. I. DUPONT DE NEMOURS AND COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          KIDDE-FENWAL, INC.
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          NATION FORD CHEMICAL COMPANY
          c/o John A. Dickson, IV
          2300 Bank Street
          Fort Mill, SC 29715




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          THE CHEMOURS COMPANY
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          THE CHEMOURS COMPANY FC, LLC
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          TYCO FIRE PRODUCTS LP
          c/o The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801




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          SUPREME COURT OF THE STATE OF NEW YORK
          NEW YORK COUNTY

          LUKE ABLE; GILBERT ACKERSON; DESTINY ALGER,
          AS PERSONAL REPRESENTATIVE OF THE ESTATE
          OF JAMES J. ALGER; GREGORY DEAN ALVERSON;
          RICHARD ASHLEY; SHENAY BENNETT; LARRY
          BONHAM; GERALD BOYD; BRAD BOYER;
          MARGARET A. BRANNON; MARY ANN BRYANT;          Index No. _________/2022
          JOHN BUTLER; CHARLES CHISLER; JAMES COATES;
          ADRIAN S. COLLIER; GUENEVERE COURSEY;          COMPLAINT AND DEMAND
                                                         FOR JURY TRIAL
          JENNIFER DEAN; MICHAEL DEVEAU; MICHAEL
          DEVITT; PERRY DUNCAN; DION EDWARDS SR.; RON    Trial by jury is desired in the
          FOLDS; APRIL FORD; BARBARA FREEMAN, AS         County of New York
          PERSONAL REPRESENTATIVE OF THE ESTATE OF
          HAROLD FREEMAN; ELFEGO GABALDON; MICHAEL       Venue is designated pursuant to
          GALLOWAY; KEITH JASON GOUGH; DAVID             CPLR § 503(a) & (c) in that the
          GUNTER; RANDY GUY; RICHARD HAYES; NATALIE      causes of action occurred in this
          HENDERSON; WILLIAM HINES; PAUL HOEHN;          county.
          ROBERT IRBY; DAVID IVEY; EDDIE JACKSON;
          BILLIE JAMES; KYLE JAYNE; BERT JENKINS;
          ROBERT A. JETT; MARY A JONES; MELISSA JONES;
          JAMES LANDRETH; DONALD JAMES LASHER JR.;
          VALERIE LING; MARK LOUDEN; DAWN LUCAS;
          WAYNE MALLORY; DERRIEL MARTIN; GREGORY
          MARTIN; JEFFREY MASSEY; JAY MCMILLIAN;
          KATHRYN MEDLIN; PETER METZ; TONY
          MUHAMMAD; JULIUS MURRAY; DAVID MYERS;
          RAMON NAVARRO; DOMINICK NIGRA; PATRICK
          O`DOWD; DENNIS OLSON; RODRIGO ORDONEZ;
          RONALD PAFFUMI; GRAYSON PAPIERSKI;
          GREGORY PAPPAS; RONALD PAQUETTE; JAMES
          PARNELL; PARKE PETERSON; RANDALL PROFFITT;
          KENNETH QUEEN; DAVID RHOADES; DALE
          RICHARDSON; ANNE RIGGS; JOEY SHORT; DAVID
          SMALLWOOD; KENNETH SMITH; JAMES SPEARS;
          JOHN SPURGEON; TIMOTHY STENCEL; CHARLES
          SUTTER; CLARENCE THOMPSON; GEORGE
          THOMPSON; TYRONE UNDERWOOD; JAMES VAN
          SKIVER; HERBERT VANCE; EDWARD WALES;
          BRUCE WALLACE; CHESTER WHITTAKER;




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          WILLARD WRIGHT JR; KYLE YAPLE; AND STEVEN
          YOUNG,

                        Plaintiffs,

          -vs -

          THE 3M COMPANY, f/k/a Minnesota Mining and
          Manufacturing Co., AGC CHEMICALS AMERICAS INC.,
          AMEREX CORPORATION, ARKEMA INC.,
          ARCHROMA U.S. INC., BUCKEYE FIRE EQUIPMENT
          COMPANY, CARRIER GLOBAL CORPORATION,
          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC.
          CHEMICALS, INC., CLARIANT CORPORATION,
          individually and as successor in interest to Sandoz Chemical
          Corporation, CORTEVA, INC., individually and as successor
          in interest to DuPont Chemical Solutions Enterprise,
          DEEPWATER CHEMICALS, INC., DUPONT DE
          NEMOURS INC., individually and as successor in interest to
          DuPont Chemical Solutions Enterprise, DYNAX
          CORPORATION, E. I. DUPONT DE NEMOURS AND
          COMPANY, individually and as successor in interest to
          DuPont Chemical Solutions Enterprise, KIDDE-FENWAL,
          INC., individually and as successor in interest to Kidde Fire
          Fighting, Inc., NATION FORD CHEMICAL COMPANY,
          THE CHEMOURS COMPANY, individually and as
          successor in interest to DuPont Chemical Solutions
          Enterprise, THE CHEMOURS COMPANY FC, LLC,
          individually and as successor in interest to DuPont Chemical
          Solutions Enterprise, and TYCO FIRE PRODUCTS, LP,
          individually and as successor in interest to The Ansul
          Company, and COMPANY XYZ 1-20, fictitious names
          whose present identities are unknown,

                        Defendants.



                             COMPLAINT AND DEMAND FOR JURY TRIAL

                  Plaintiffs LUKE ABLE; GILBERT ACKERSON; DESTINY ALGER, AS PERSONAL

          REPRESENTATIVE OF THE ESTATE OF JAMES J. ALGER; GREGORY DEAN

          ALVERSON; RICHARD ASHLEY; SHENAY BENNETT; LARRY BONHAM; GERALD

          BOYD; BRAD BOYER; MARGARET A. BRANNON; MARY ANN BRYANT; JOHN

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          BUTLER; CHARLES CHISLER; JAMES COATES; ADRIAN S. COLLIER; GUENEVERE

          COURSEY; JENNIFER DEAN; MICHAEL DEVEAU; MICHAEL DEVITT; PERRY

          DUNCAN; DION EDWARDS SR.; RON FOLDS; APRIL FORD; BARBARA FREEMAN, AS

          PERSONAL REPRESENTATIVE OF THE ESTATE OF HAROLD FREEMAN; ELFEGO

          GABALDON; MICHAEL GALLOWAY; KEITH JASON GOUGH; DAVID GUNTER;

          RANDY GUY; RICHARD HAYES; NATALIE HENDERSON; WILLIAM HINES; PAUL

          HOEHN; ROBERT IRBY; DAVID IVEY; EDDIE JACKSON; BILLIE JAMES; KYLE JAYNE;

          BERT JENKINS; ROBERT A. JETT; MARY A JONES; MELISSA JONES; JAMES

          LANDRETH; DONALD JAMES LASHER JR.; VALERIE LING; MARK LOUDEN; DAWN

          LUCAS; WAYNE MALLORY; DERRIEL MARTIN; GREGORY MARTIN; JEFFREY

          MASSEY; JAY MCMILLIAN; KATHRYN MEDLIN; PETER METZ; TONY MUHAMMAD;

          JULIUS MURRAY; DAVID MYERS; RAMON NAVARRO; DOMINICK NIGRA; PATRICK

          O`DOWD; DENNIS OLSON; RODRIGO ORDONEZ; RONALD PAFFUMI; GRAYSON

          PAPIERSKI; GREGORY PAPPAS; RONALD PAQUETTE; JAMES PARNELL; PARKE

          PETERSON; RANDALL PROFFITT; KENNETH QUEEN; DAVID RHOADES; DALE

          RICHARDSON; ANNE RIGGS; JOEY SHORT; DAVID SMALLWOOD; KENNETH SMITH;

          JAMES SPEARS; JOHN SPURGEON; TIMOTHY STENCEL; CHARLES SUTTER;

          CLARENCE THOMPSON; GEORGE THOMPSON; TYRONE UNDERWOOD; JAMES VAN

          SKIVER; HERBERT VANCE; EDWARD WALES; BRUCE WALLACE; CHESTER

          WHITTAKER; WILLARD WRIGHT JR; KYLE YAPLE; AND STEVEN YOUNG,

          (“Plaintiffs”), by and through the undersigned counsel, hereby files this Complaint against

          Defendants, 3M COMPANY, f/k/a Minnesota Mining and Manufacturing Co., AGC

          CHEMICALS AMERICAS INC., AMEREX CORPORATION, ARKEMA INC., ARCHROMA



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          U.S INC., BUCKEYE FIRE EQUIPMENT COMPANY, CARRIER GLOBAL CORPORATION,

          CHEMDESIGN PRODUCTS INC., CHEMGUARD INC., CHEMICALS, INC., CLARIANT

          CORPORATION, CORTEVA, INC., DEEPWATER CHEMICALS, INC., DUPONT DE

          NEMOURS INC., DYNAX CORPORATION, E. I. DUPONT DE NEMOURS AND

          COMPANY, KIDDE-FENWAL, INC., NATION FORD CHEMICAL COMPANY, THE

          CHEMOURS COMPANY, THE CHEMOURS COMPANY FC, LLC, and TYCO FIRE

          PRODUCTS, LP, and COMPANY XYZ 1-20, fictitious names whose present identifies are

          unknown (collectively “Defendants”) and alleges, upon information and belief, as follows:

                                                   INTRODUCTION

                     1.   This action arises from the foreseeable contamination of groundwater by the use of

          aqueous film-forming foam (“AFFF”) products that contained per- and poly-fluoroalkyl

          substances (“PFAS”), including perfluorooctane sulfonate (“PFOS”) and perfluorooctanoic acid

          (“PFOA”).

                     2.   PFOS and PFOA are fluorosurfactants that repel oil, grease, and water. PFOS,

          PFOA, and/or their chemical precursors, are or were components of AFFF products, which are

          firefighting suppressant agents used in training and firefighting activities for fighting Class B fires.

          Class B fires include fires involving hydrocarbon fuels such as petroleum or other flammable

          liquids.

                     3.   PFOS and PFOA are mobile, persist indefinitely in the environment, bioaccumulate

          in individual organisms and humans, and biomagnify up the food chain. PFOS and PFOA are also

          associated with multiple and significant adverse health effects in humans, including but not limited

          to kidney cancer, testicular cancer, high cholesterol, thyroid disease, ulcerative colitis, and

          pregnancy-induced hypertension.



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                 4.      At various times from the 1960s through today, Defendants designed,

          manufactured, marketed, distributed, and/or sold AFFF products containing PFOS, PFOA, and/or

          their chemical precursors, and/or designed, manufactured, marketed, distributed, and/or sold the

          fluorosurfactants and/or perfluorinated chemicals (“PFCs”) contained in AFFF (collectively,

          “AFFF/Component Products”).

                 5.      Defendants     designed,   manufactured,     marketed,    distributed,   and/or   sold

          AFFF/Component Products with the knowledge that these toxic compounds would be released

          into the environment during fire protection, training, and response activities, even when used as

          directed and intended by Defendants.

                 6.      Since its creation in the 1960s, AFFF designed, manufactured, marketed,

          distributed, and/or sold by Defendants, and/or that contained fluorosurfactants and/or PFCs

          designed, manufactured, marketed, distributed, and/or sold by Defendants, used as directed and

          intended by Defendants, and subsequently released into the environment during fire protection,

          training, and response activities, resulting in widespread PFAS contamination.

                 7.      Due to this contamination, Plaintiffs have suffered real personal injuries,

          bioaccumulation of PFAS in their bodies, property damage and the diminution in value of their

          properties as a result of the release of PFAS to their water supplies.

                 8.      Plaintiffs have suffered an assortment of diseases and medical conditions as a direct

          result of their exposure to the PFAS contamination of their water supply.

                 9.      Plaintiffs, as residents and those who visited, worked, or otherwise dwelled in the

          Site area, have been unknowingly exposed for many years to PFAS, including at concentrations

          hazardous to their health.




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                 10.     Plaintiffs’ unwitting exposure to PFAS in their water supply as a result of the

          Defendants’ conduct, is the direct and proximate cause of Plaintiffs’ injuries.

                 11.     Plaintiffs’ property has been damaged as a result of the presence of the PFAS in

          their water supply.

                 12.     Plaintiffs seek recovery from Defendants for injuries, damages, and losses suffered

          by the Plaintiffs as a result of exposure to the introduction of PFAS and other toxic substance into

          their water supply, and then into their properties and bodies, in an amount to be determined at trial,

          exclusive of interest, costs, and attorneys’ fees.

                                            JURISDICTION AND VENUE

                 13.     This Court has jurisdiction because Defendant Dynax Corporation’s principal place

          of business is located at 103 Fairview Park Drive, Elmsford, New York 10523.

                 14.     Venue is proper in this District under CPLR §503 (a) because the events, omissions

          and harms that are the basis of Plaintiffs claims occurred in substantial party in this District.

                 15.     This Court has personal jurisdiction over Defendants by virtue of each Defendants’

          regular and systematic contacts with New York, including, among other things, purposefully

          marketing, selling and/or distributing their AFFF/Component Products to and within New York,

          and because they have the requisite minimum contacts with New York necessary to

          constitutionally permit the Court to exercise jurisdiction over them consistent with traditional

          notions of fair play and substantial justice.

                                                          PARTIES

                 A.      Plaintiff

                 16.     Plaintiff Luke Able resides at 409 Annapolis Cir., Hermatige, TN 37076. Plaintiff

          was formerly stationed at Fort Detrick MD; Fort Gordon GA; Fort Gordon 307 Chamberlain

          Avenue Fort Gordon GA; NAS Fort Detrick 810 Schreider St Fort Detrick MD (hereinafter the

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          “Site”) from 1981 to 1985 and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Luke Able’s exposure, Plaintiff has been diagnosed with

          Kidney Cancer, Renal Cell Carcinoma.

                 17.     Plaintiff Gilbert Ackerson resides at 1501 Tiffany Dr., Laplace, LA 70068. Plaintiff

          was formerly stationed at 16245 Woodlawn Acres Ave Baton Rouge LA; 5770 Pasteur Blvd New

          Orleans LA; Fort Lewis 2140 Liggett Ave WA; Fort McClellan 1023 Fort McClellan Anniston

          AL; Germany; Johnston Island Air Force Base Johnston Atoll (hereinafter the “Site”) from 1975

          to 1987 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Gilbert Ackerson’s exposure, Plaintiff has been diagnosed with

          Kidney Disease, Myeloma.

                 18.     Plaintiff Destiny Alger, as Personal Representative of the estate of James J. Alger

          resided at 1070 Pelican Lake Ln., Las Vegas, NV 89123. Plaintiff James J. Alger was formerly

          stationed at Alameda Naval Base; Tinker AFB; Travis AFB (hereinafter the “Site”) for all times

          relevant herein and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct



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          and proximate result of Plaintiff James J. Alger’s exposure, James J. Alger was diagnosed with

          Kidney Cancer, Lung Cancer, Pancreatic Cancer, Thyroid Abnormality and passed away from

          liver, lung, and pancreatic cancer.

                 19.     Plaintiff Gregory Dean Alverson resides at 507 Gore Street, Huntland, TN 37345.

          Plaintiff was formerly stationed at Austin Base Little Creek VA; Charleston Naval Base;

          Charleston Naval Base 2316 Red Bank Rd Goose Creek SC; Great Lakes IL; Great Lakes Naval

          Station 3355 Illinois St North Chicago IL; John F. Kennedy Norfolk VA; Little Creek Amphibious

          Base Bldg. 3510 23459 2732, 1155 Nider Blvd Virginia Beach VA; Norfolk Naval Station 1530

          Gilbert St #2000 Norfolk VA; Charleston SC (hereinafter the “Site”) from 1984 to 1992 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Gregory Dean Alverson’s exposure, Plaintiff has been diagnosed with Thyroid Disease.

                 20.     Plaintiff Richard Ashley resides at 2758 W. Victoria Dr., Alpine, CA 91901.

          Plaintiff was formerly stationed at Norfolf NAS; Norfolk Naval Station 1530 Gilbert St #2000

          Norfolk VA; Vietnam (hereinafter the “Site”) from 1970 to 1974 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Richard

          Ashley’s exposure, Plaintiff has been diagnosed with Kidney Cancer.




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                 21.     Plaintiff Shenay Bennett resides at 144 San Marco Way, American Canyon, CA

          94503. Plaintiff was formerly stationed at 1331 Southgate Ave Daly City CA; 1514 Magazine

          Street Vallejo CA; 2117 Guiffras Way Metairie LA; 300 Hilary Way Vallejo CA; 342 Ralston

          Street San Francisco CA; McChord AF Base Tacoma WA Tacoma WA (hereinafter the “Site”)

          from 1994 to 1998 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Shenay Bennett’s exposure, Plaintiff has been diagnosed

          with Thyroid Disease.

                 22.     Plaintiff Larry Bonham resides at 9142 Southwood Dr., Shreveport, LA 71118.

          Plaintiff was formerly stationed at 9142 Southwood Dr. Shreveport LA; Barksdale AFB 425

          Lindbergh Avenue Barksdale AFB LA; Bitburg Air Force Base Bitburg; England AFB Alexandria,

          LA 71303 Alexandia LA; Gettysburg Air Force Base; Keflavik Air Force Base; KI Sawyer AFB

          Upper Peninsula of Michigan, 440 miles northwest of Detroit, MI; Shaw AFB 411 Polifka Dr

          Shaw AFB SC (hereinafter the “Site”) from 1974 to 1994 and was living on base at the Site during

          that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

          and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Larry Bonham’s exposure,

          Plaintiff has been diagnosed with Cancer, High Cholesterol, Leukemia.

                 23.     Plaintiff Gerald Boyd resides at 113 Lincoln St., Paris, TN 38242. Plaintiff was

          formerly stationed at Alameda Alameda CA; camp pendleton Camp Pendleton North CA;



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          Lemoore, CA 700 Avenger Ave, Lemoore CA; Long Beach, CA; Millington, TN; Naval Air

          Station Lemoore 700 Avenger Ave Lemoore CA; Naval Base San Diego 3455 Senn St San Diego

          CA; NOSC Alameda 2144 Clement Ave Alameda CA; San Diego, CA 3455 Senn St, San Diego

          CA (hereinafter the “Site”) from 1981 to 1984 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Gerald Boyd’s exposure,

          Plaintiff has been diagnosed with Hyperthyroidism, Thyroid Disease.

                 24.     Plaintiff Brad Boyer resides at 715 S Knox Drive, Pueblo, CO 81007. Plaintiff was

          formerly stationed at Great Lakes 530 Farragut Ave Ste B Great Lakes IL; Lake Hurst NAWCAD

          Lakehurst Lakehurst NJ; Miramar Navy Miramar Way; Miramar Way San Diego CA (hereinafter

          the “Site”) from 1987 to 1991 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Brad Boyer’s exposure, Plaintiff has been

          diagnosed with Non-Hodgkins Lymphoma.

                 25.     Plaintiff Margaret A. Brannon resides at 29880 Revis Rd., Coarsegold, CA 93614.

          Plaintiff was formerly stationed at Great lakes naval base; Naval Submarine Base New London 1

          Crystal Lake Rd Groton CT; Orland naval base FL (hereinafter the “Site”) from 1989 to 1990 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels



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          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Margaret A. Brannon’s exposure, Plaintiff has been diagnosed with

          Hyperthyroidism, Thyroid Disease.

                 26.     Plaintiff Mary Ann Bryant resides at 4405 Airline Drive, Bossier City, LA 71111.

          Plaintiff was formerly stationed at Bainbridge Rd NTA Bainbridge Port Deposit MD; 280 Taylor

          Rd NAS Pensacola Pensacola FL; Jackson Ave Fort Myer VA (hereinafter the “Site”) from 1970

          to 2020 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Mary Ann Bryant’s exposure, Plaintiff has been diagnosed with

          Chronic Lymphocytic Leukemia, High Cholesterol, Leukemia, Thyroid Disease.

                 27.     Plaintiff John Butler resides at 3012 Via Conquistadores, Navarre, FL 32566.

          Plaintiff was formerly stationed at Keesler AFB 4503 M St Biloxi AK; Little Rock AFB

          Jacksonville AK; Millington BLDG. S455 TN; Orlando; USS Independence (hereinafter the

          “Site”) from 1977 to 1986 and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff John Butler’s exposure, Plaintiff has been diagnosed with

          Kidney Cancer.




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                 28.     Plaintiff Charles Chisler resides at 37 Chaser Dr., Sparks, GA 31647. Plaintiff was

          formerly stationed at Andrew AFB MD; Andrews Air Force Base 11 FSS/FSFR, 1191 Menoher

          Drive JB Andrews MD (hereinafter the “Site”) from 1978 to 1980 and was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff Charles

          Chisler’s exposure, Plaintiff has been diagnosed with Blood Cancer, Cancer.

                 29.     Plaintiff James Coates resides at 230 Lottie Lane, Eros, LA 71238. Plaintiff was

          formerly stationed at 230 Lottie Ln Eros LA; Beale Air Force Base Yuba County CA; Beale Air

          Force Base 24112 'A' Street Beale AFB CA; England AFB Alexandria, LA 71303 Alexandia LA;

          England Air Force Base Alexandria LA; RAF Upper Heyford Oxfordshire, England; RAF Upper

          Heyford Oxfordshire (hereinafter the “Site”) from 1988 to 1997 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff James

          Coates’s exposure, Plaintiff has been diagnosed with Leukemia, Lymphoma.

                 30.     Plaintiff Adrian S. Collier resides at 1714 Bear Paw lane, Murfrees Boro, TN

          37130. Plaintiff was formerly stationed at Fort Sill Fort Sill OK; Germany (hereinafter the “Site”)

          from 1989 to 1993 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result



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          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Adrian S. Collier’s exposure, Plaintiff has been diagnosed

          with Thyroid Disease.

                 31.     Plaintiff Guenevere Coursey resides at P.O. Box 593, Kihei, HI 96753. Plaintiff

          was formerly stationed at Al Dhafra Air Base United Arab Emirates; Bagram Air Base

          Afghanistan; Mountain Home AFB; RAF Lakenheath, UK (hereinafter the “Site”) from 2011 to

          2013 and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Guenevere Coursey’s exposure, Plaintiff has been diagnosed with

          Hypothyroidism.

                 32.     Plaintiff Jennifer Dean resides at 2067 South Vaughn Way, Apt 201, Aurora, CO

          80014. Plaintiff was formerly stationed at Camp Pendleton 200 Mercy Cir Oceanside CA; Great

          Lakes Naval Base; Great Lakes Naval Base IL; Naval Hospital - Long Beach Long Beach CA;

          Naval Hospital Long Beach Long Beach CA; Naval Training Center Orlando FL; Orlando Naval

          Base Orlando FL (hereinafter the “Site”) from 1987 to 1989 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Jennifer

          Dean’s exposure, Plaintiff has been diagnosed with Hypothyroidism, Miscarriage, Thyroid

          Disease.



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                 33.     Plaintiff Michael Deveau resides at 219 Flagship Boulevard Apt. 432,

          Montgomery, TX 77316. Plaintiff was formerly stationed at 2316 Red Blank Rd Joint Base

          Charleston Goose Creek SC; 530 Farragut Ave Ste B USO Great Lakes Great Lakes IL; Alameda

          Blvd North Island NAS San Diego CA; MCAS Cherry Point Fontana Blvd Havelock NC; NAS

          Pensacola 280 Taylor Rd Pensacola FL (hereinafter the “Site”) from 1979 to 1979 and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Michael Deveau’s exposure, Plaintiff has been diagnosed with Kidney Cancer.

                 34.     Plaintiff Michael Devitt resides at 329 Olive Street, Shreveport, LA 71104. Plaintiff

          was formerly stationed at Jacksonville Naval Base Jacksonville, FL; Jacksonville Naval Base 6801

          Roosevelt Blvd Jacksonville FL (hereinafter the “Site”) from 1988 to 1996 and was living on base

          at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS. Claimant

          has been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

          Michael Devitt’s exposure, Plaintiff has been diagnosed with Liver Cancer, Pancreatic Cancer.

                 35.     Plaintiff Perry Duncan resides at 957 Fairlong Dr., Acworth, GA 30101. Plaintiff

          was formerly stationed at Chanute AFB; Chanute Air Force Base Rantoul IL; Eglin AFB 2591

          Eglin Boulevard Eglin Air Force Base FL; Elgin AFB; RAF Mildenhall Suffolk (hereinafter the

          “Site”) from 1982 to 1987 and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water



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          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Perry Duncan’s exposure, Plaintiff has been diagnosed with

          Prostate Cancer.

                 36.     Plaintiff Dion Edwards Sr. resides at 315 S 61st Ave, Pensacola, FL 32506. Plaintiff

          was formerly stationed at 21 77th St N Malmstrom AFB MT; Lackland AFB Bergquist Dr San

          Antonio TX; Lackland Airforce Base Building #2292 JBSA-Lackland AFB, Lackland AFB, TX;

          Malstrom AFB Malstrom AFB MT; Tyndall AFB 2580 Hwy 98 Tyndall AFB FL; Tyndall AFB

          Tyndall Dr Panama City FL (hereinafter the “Site”) from 1984 to 1994 and was living on base at

          the Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff Dion

          Edwards Sr.’s exposure, Plaintiff has been diagnosed with Chronic Lymphocytic Leukemia,

          Leukemia.

                 37.     Plaintiff Ron Folds resides at 11020 Buddy Ellis Rd, Denham Springs, LA 70726.

          Plaintiff was formerly stationed at Beaufort Drayton Street Beaufort SC; Camp Geiger TC, 754

          8th St Jacksonville NC; Japan; NAS Dallas 1510 Chenault Avenue NAS JRB Fort Worth; Fort

          Worth TX (hereinafter the “Site”) from 1968 to 1973 and was living on base at the Site during that

          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Ron Folds’ exposure,



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          Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol, Hyperthyroidism,

          Thyroid Disease.

                 38.     Plaintiff April Ford resides at 15402 Cooks Petrel, San Antonio, TX 78253.

          Plaintiff was formerly stationed at 12436 Vance Jackson Rd Apt 712 San Antonio TX; 15402

          Cooks Petrel SAN ANTONIO TX; 1733 Pleasonton Rd Fort Bliss TX; 2000 E Roger Rd Apt. G74

          Tucson AZ; Bowley Rd Fort Sam Houston San Antonio TX; Camp Humphreys Korea; Ft.

          Campbell Ft. Campbell KY; Ft. Leonard Wood Indian Ave Ft. Leonard Wood MO; Kolekole Ave

          Schofield Barracks HI; Woodstone Dr, San Antonio TX (hereinafter the “Site”) from 2001 to 2005

          and was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff April Ford’s exposure, Plaintiff has been diagnosed with Cancer,

          Sarcoidosis.

                 39.     Plaintiff Barbara Freeman, as Personal Representative of the estate of Harold

          Freeman resided at 125 Parkwood Dr W, Orange Park, FL 32073. Plaintiff was formerly stationed

          at Great Lakes Great Lakes IL; Lemoore NAS Lemoore (hereinafter the “Site”) from 1970 to 1980

          and was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Harold Freeman’s exposure, Plaintiff Harold Freeman was diagnosed

          with Kidney Cancer and passed away from kidney cancer.



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                 40.     Plaintiff Elfego Gabaldon resides at 4612 Mesa Rico Dr., Las Cruces, NM 88011.

          Plaintiff was formerly stationed at Indian Springs/Creech AFB; Joint Base Andrews (hereinafter

          the “Site”) from 1982 to 1995 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Elfego Gabaldon’s exposure, Plaintiff has been

          diagnosed with Non-Hodgkins Lymphoma, Tongue Cancer.

                 41.     Plaintiff Michael Galloway resides at 97 Diamond Ave, Pinehill, NJ 08021-.

          Plaintiff was formerly stationed at Naval Construction Baatallion Center 4902 Marvin Shields

          Blvd Gulfport MS; RTC Orlando, FL (hereinafter the “Site”) from 1992 to 1997 and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Michael Galloway’s exposure, Plaintiff has been diagnosed with Pancreatic Cancer.

                 42.     Plaintiff Keith Jason Gough resides at 4411 Wayne Bridge Rd, Owensboro, KY

          42301. Plaintiff was formerly stationed at Cannon AFB 601 Chindit Blvd Cannon AFB NM;

          Chanute AFB 501 EAST CONDIT DRIVE Rantoul IL; Lackland AFB Hwy 90, SW Military Road

          Lakeland AFB TX (hereinafter the “Site”) from 1984 to 1994 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at



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          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Keith Jason

          Gough’s exposure, Plaintiff has been diagnosed with High Cholesterol, Kidney Cancer.

                 43.     Plaintiff David Gunter resides at 950 Rocky Oaks Trl., Cordova, TN 38018.

          Plaintiff was formerly stationed at Alameda Naval Base CA; Alameda Naval Base 2144 Clement

          Ave Alameda CA; Lakehurst NAS NJ; Memphis NAS TN; NAS Lakehurst Manchester Township,

          NJ 08759 Manchester Township NJ; NAS Millington 7698 Hornet Ave Millington TN; Puget

          Sound Naval Shipyard WA; Puget Sound Naval Shipyard 1400 Farragut St Bremerton WA

          (hereinafter the “Site”) from 1990 to 1997 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff David Gunter’s exposure,

          Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol, Hyperthyroidism,

          Migraines, Thyroid Disease.

                 44.     Plaintiff Randy Guy resides at 3006 Meadows Lane, Memphis, TN 38118. Plaintiff

          was formerly stationed at Keisler AFB 4503 M St Biloxi MS; Lackland AFB 2602 Luke Blvd

          Lackland AFB TX; Little Rock AFB 1500 Vandenberg Blvd Little Rock AFB AR; McGuire AFB

          JB MDL, 3021 McGuire Blvd Trenton NJ (hereinafter the “Site”) from 1978 to 1983 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of




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          Plaintiff Randy Guy’s exposure, Plaintiff has been diagnosed with High Blood Pressure,

          Hyperthyroidism.

                 45.     Plaintiff Richard Hayes resides at 1877 E. Nance Ln., Winslow, IN 47598. Plaintiff

          was formerly stationed at NSA Mid-South Millington TN; NSA Orlando FL; USS Independence

          (hereinafter the “Site”) from 1993 to 1994 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Richard Hayes’s exposure,

          Plaintiff has been diagnosed with High Cholesterol, Kidney Cancer, Kidney Disease.

                 46.     Plaintiff Natalie Henderson resides at 920 Camelot Ct., Riverton, NJ 08077-.

          Plaintiff was formerly stationed at 442 13th St Dover AFB Dover DE; Bergquist Dr Lackland AFB

          San Antonio TX; Dover AFB 442 13th St Dover DE; Flugplatz Ramstein Geb 2477 Ramstein AFB

          Ramstein GER; Fort Sam Houston 3060 Stanley Road San Antonio TX; Harney Path Fort Sam

          Houston San Antonio TX; Lackland AFB Hwy 90, SW Military Road Lakeland AFB TX;

          Ramstein Air Force Base 66877 Ramstein-Miesenbach (hereinafter the “Site”) from 1998 to 2006

          and was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Natalie Henderson’s exposure, Plaintiff has been diagnosed with

          Hypothyroidism, suffered a miscarriage, premature birth of her child, Thyroid Disease.




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                 47.     Plaintiff William Hines resides at 342 Terrace Dr. #2, Erlanger, KY 41018. Plaintiff

          was formerly stationed at 313 Calvary in Germany; 342 Terrace Dr. Erlanger KY; 469 Armor

          Mainz, Germany Mainz Germany; Fort Knox; Fort Knox Kentucky, Old Ironside St. Fort Knox

          KY; (hereinafter the “Site”) from 1975 to 1983 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff William Hines’s exposure,

          Plaintiff has been diagnosed with Kidney Cancer, Prostate Cancer.

                 48.     Plaintiff Paul Hoehn resides at 5422 Robinwood Dr, Northstreet, MI 48049.

          Plaintiff was formerly stationed at Cannon AFB, NM 601 Chindit Blvd Cannon AFB NM; Pope

          AFB, NC 1526 Hurst Dr, Pope Field NC; Raf Upper Heyford, England (hereinafter the “Site”)

          from 1978 to 1999 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Paul Hoehn’s exposure, Plaintiff has been diagnosed with

          Hodgkins Lymphoma, Lymphoma.

                 49.     Plaintiff Robert Irby resides at 16308 Petaluma Place, Edmond, OK 73013. Plaintiff

          was formerly stationed at Ellsworth AFB 1000 Ellsworth Street; Suite 1500 Ellsworth AFB SD;

          Lackland AFB San Antonio Gateway East; Building #2292 JBSA-Lackland AFB TX; McConnell

          AFB 52802 Kansas Street McConnell AFB KS; Peterson AFB Platte Avenue ;, N Powers Blvd

          Colorado Springs CO; Randolph AFB 1 Harmon Drive; Building #1032 JBSA Randolph TX



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          (hereinafter the “Site”) from 1988 to 2002 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Robert Irby’s exposure,

          Plaintiff has been diagnosed with Hypothyroidism.

                 50.     Plaintiff David Ivey resides at 1540 Willys Knight Drive, Albuquerque, NM 87112.

          Plaintiff was formerly stationed at 1540 Willys Drive Albuquerque NM; Kirtland Air Force Base

          Albuquerque NM; Little Rock Air Force Base Little Rock AR (hereinafter the “Site”) from 1986

          to 1997 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff David Ivey’s exposure, Plaintiff has been diagnosed with Breast

          Cancer, Kidney Cancer.

                 51.     Plaintiff Eddie Jackson resides at 4951 N 64th St, Milwaukee, WI 53218. Plaintiff

          was formerly stationed at Fort Hood Killeen TX; Fort Jackson Fort Jackson SC (hereinafter the

          “Site”) for all times relevant herein and was living on base at the Site during that time. While living

          on base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Eddie Jackson’s exposure, Plaintiff has been

          diagnosed with Hepatitis C, Hodgkin’s Lymphoma, Non-Hodgkin’s Lymphoma.



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                 52.     Plaintiff Billie James resides at 5660 Brandon Park drive, Maryville, TN 37804.

          Plaintiff was formerly stationed at Fort Campbell, KY Fort Campbell, KY; Fort Carson, CO Fort

          Carson CO; Fort Gordon, GA Augusta, GA; Fort Leonard Wood, MO Fort Leonard Wood MO;

          Fort McNair DC, Fort McNair DC; Fort Richardson, AK Anchorage, AK (hereinafter the “Site”)

          for all times relevant herein and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Billie James’s exposure, Plaintiff has been

          diagnosed with Diabetes, Kidney Cancer.

                 53.     Plaintiff Kyle Jayne resides at 13397 Berwick Turnpike, Joliett, PA 16925. Plaintiff

          was formerly stationed at NAB Little Creek Little Creek VA (hereinafter the “Site”) from 2004 to

          2008 and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Kyle Jayne’s exposure, Plaintiff has been diagnosed with Brain

          Lesions, Hyperthyroidism, Hypothyroidism, Thyroid Disease.

                 54.     Plaintiff Bert Jenkins resides at 4586 College Rd, South Euclid, OH 44121. Plaintiff

          was formerly stationed at Camp Pendleton Camp Pendleton CA; Camp Quantico Camp Quantico

          VA; Marine barracks Washington DC 8th; I Streets SE Washington DC (hereinafter the “Site”)

          from 1977 to 1979 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water



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          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Bert Jenkins’s exposure, Plaintiff has been diagnosed with

          Chronic Lymphocytic Leukemia, Hodgkin’s Lymphoma.

                 55.     Plaintiff Robert A. Jett resides at 19 Cottontail Lane, Farmington, NH 03835-.

          Plaintiff was formerly stationed at Alameda Naval base Alameda CA; Bremerton, WA - USS Abe

          Lincoln Bremerton WA; Everett, WA – USS Abe Lincoln 2000 W Marine View Dr Everett WA

          (hereinafter the “Site”) from 1994 to 1997 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Robert A. Jett’s exposure,

          Plaintiff has been diagnosed with Kidney Cancer, Renal Cell Carcinoma.

                 56.     Plaintiff Mary A Jones resides at 6714 Parrish Ave,, Hammond, IN 46323. Plaintiff

          was formerly stationed at Albany, GA (hereinafter the “Site”) for all times relevant herein and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Mary A Jones’s exposure, Plaintiff has been diagnosed with Myeloma.

                 57.     Plaintiff Melissa Jones resides at 4079 Glen Laurel Drive East, Valdosta, GA

          31605. Plaintiff was formerly stationed at Balad Air Base Unnamed Road Yathrib ; Dover AFB

          442 13th St Dover DE; Dover Air Force Base DE; Fort Jackson 4442 Jackson Blvd Columbia SC;



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          Kadena Air Base (Japan); Kadena Air Base Higashi, Kadena, Nakagami District Okinawa

          (hereinafter the “Site”) from 2004 to 2012 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Melissa Jones’s exposure,

          Plaintiff has been diagnosed with Ulcerative Colitis.

                 58.     Plaintiff James Landreth resides at 1102 St Andrews Dr #201, Wilmington, NC

          28412. Plaintiff was formerly stationed at Fort Bennings GA 7117 Baltzell Avenue Building 7

          Fort Benning GA; Fort Bragg AFB Soldier Support Center Building 4-2843 Normandy Street Fort

          Bragg NC; Fort Knox KY Bullion Blvd (Chaffee Gate) Fort Knox KY; Fort Sill OK B4700 Mow-

          Way Road Fort Sill OK (hereinafter the “Site”) from 1976 to 1978 and was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff James

          Landreth’s exposure, Plaintiff has been diagnosed with Bladder Cancer.

                 59.     Plaintiff Donald James Lasher Jr. resides at 1708 Southport Blv., New Iberia, LA

          70560. Plaintiff was formerly stationed at Alameda Naval Base CA; Millington Naval Base 7700

          Hornet Ave Millington TN; NAS Alameda 1100 W Red Line Ave Alameda CA; Naval Base

          Kitsap - Bangor 1035 Trident Blvd, Main Gate Silverdale WA; Naval Station Bremerton WA;

          NSA Millington; NTC San Diego CA; San Diego Naval Base CA 3455 Senn St San Diego CA

          (hereinafter the “Site”) from 1991 to 1995 and was living on base at the Site during that time.



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          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Donald James Lasher Jr.’s

          exposure, Plaintiff has been diagnosed with High Blood Pressure, High Cholesterol, Testicular

          Cancer.

                 60.     Plaintiff Valerie Ling resides at 209 S 2nd St, Noble, OK 73068. Plaintiff was

          formerly stationed at 10160 60th St. Lexington OK; 113 S 3rd St Mt Juliet TN; 1275 South Water

          Ave Gallatin TN; 1323 Witte Rd 323 Houston TX; 206 Anderson St Schulenburg TX; 209 S 2nd

          noble OK; 215 Upton Ave Schulenburg TX; 4102 Skipper Tampa FL; 5211 Massachusetts Ave

          84 Indianapolis IN; 5285 Simmons Bluff Lebanon TN; 602 S 7th Noble OK; 616 C Moore St

          Garland TX; 702 1/2 Main ST 2 Beech Grove IN; Ft. Keesler 4503 M St Biloxi MS; Lackland San

          Antonio TX (hereinafter the “Site”) from 1989 to 1992 and was living on base at the Site during

          that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

          and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Valerie Ling’s exposure,

          Plaintiff has been diagnosed with High Cholesterol, Thyroid Cancer, Thyroid Disease.

                 61.     Plaintiff Mark Louden resides at 495 Vance Rd., Turners Station, KY 40075.

          Plaintiff was formerly stationed at 253 Sneads Ferry Rd Camp Lejeune NC; 754 8th St Camp

          Geiger Jacksonville FL; Camp Geiger TC, 754 8th St, Jacksonville NC; Camp Hansen Okinawa ;

          Camp Lejeune PSC Box 20005 Camp Lejeune NC; Kunigami District Camp Hansen Okinawa

          JPN; New River Air Station Curtis Rd Jacksonville NC (hereinafter the “Site”) from 1990 to 1994



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          and was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Mark Louden’s exposure, Plaintiff has been diagnosed with Ulcerative

          Colitis.

                     62.   Plaintiff Dawn Lucas resides at 16621 Palm Spring Drive, Clarmont, FL 34714.

          Plaintiff was formerly stationed at Fort Bliss Buffalo Soldier; Building 5400 Buffalo Soldier Fort

          Bliss TX; Ft Benning 7117 Baltzell Avenue; Building 7 Fort Benning GA; Ft Carson 6001 Wetzel

          Ave Fort Carson CO; Joint Base Langley 45 Nealy Ave; Langley AFB Hampton VA (hereinafter

          the “Site”) from 1995 to 2011 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Dawn Lucas’s exposure, Plaintiff has been

          diagnosed with Ulcerative Colitis.

                     63.   Plaintiff Wayne Mallory resides at 771 McWhorter Victory Road, London, KY

          40741. Plaintiff was formerly stationed at Camp Pendleton Building #13150 Camp Pendleton CA;

          CGB Hunters Pt San Francisco CA; CGC Cape York; CGC Sweetbriar 1050 Register St North

          Charleston SC; CGS Cordova AK; Coast Guard Training Center Bldg.. 21, Rm 209, Coast Guard

          Island Alameda CA; NAS Key West 804 Sigsbee Road Bldg.. V4058, Sigsbee Park Key West FL;

          Treasure Island CA; USCGS Neah Bay 31 Coast Guard Dr Neah Bay WA (hereinafter the “Site”)

          from 1979 to 1990 and was living on base at the Site during that time. While living on base at the



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          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Wayne Mallory’s exposure, Plaintiff has been diagnosed

          with Hearing Loss, Hypothyroidism, Thyroid Disease.

                 64.     Plaintiff Derriel Martin resides at 221 Suemont Street, Vivian, LA 71082. Plaintiff

          was formerly stationed at Castle AFB 5050 Santa Fe Dr Atwater CA; Castle Air Base 5050 Santa

          Fe Dr, Atwater CA; Lackland AFB San Antonio TX; Lackland Air Force Base 2292 JBSA-

          Lackland Lackland AFB TX; Langley AFB 210 Sweeney Blvd Hampton VA; Langley AFB 210

          Sweeney Blvd, Hampton VA; Little Rock AFB 1250 Thomas Avenue Jacksonville AR; little rock

          air force base Jacksonville AR; Peterson AFB Platte Avenue; N Powers Blvd Colorado Springs

          CO; Peterson Air Force Base Platte Avenue ;, N Powers Blvd, Colorado Springs CO (hereinafter

          the “Site”) from 1974 to 1993 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their

          health. As a direct and proximate result of Plaintiff Derriel Martin’s exposure, Plaintiff has been

          diagnosed with Hyperthyroidism, Leukemia.

                 65.     Plaintiff Gregory Martin resides at 319 Delta Way, Sevierville, TN 37862. Plaintiff

          was formerly stationed at Fort Knox, KY; Ft Lewis, WA (hereinafter the “Site”) from 1984 to

          1987 and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS



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          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Gregory Martin’s exposure, Plaintiff has been diagnosed with

          Diabetes, Liver Cancer.

                 66.      Plaintiff Jeffrey Massey resides at 3332 Brackenhouse Rd., Danville, VA 24540.

          Plaintiff was formerly stationed at Jacksonville Naval Base 6801 Roosevelt Blvd, Jacksonville,

          FL; Norfolk Naval Station 1530 Gilbert St #2000 VA (hereinafter the “Site”) from 1979 to 1986

          and was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Jeffrey Massey’s exposure, Plaintiff has been diagnosed with Cancer,

          Colon Cancer.

                 67.      Plaintiff Jay McMillian resides at 1362 Charlie Griggs Rd., West Monroe, LA

          71292. Plaintiff was formerly stationed at Balboa Naval Hospital; Balboa Naval Hospital 34800

          Bob Wilson Dr San Diego CA; Camp Pendleton; Camp Pendleton Building #13150 Camp

          Pendleton CA; Naval Base San Diego 3455 Senn St San Diego CA; San Diego Naval Base CA

          (hereinafter the “Site”) from 1988 to 1992 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Jay McMillian’s exposure,

          Plaintiff has been diagnosed with Myeloma and Prostate Cancer.




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                 68.     Plaintiff Kathryn Medlin resides at 1960 Rd., Kelly Lane, IL 62959. Plaintiff was

          formerly stationed at Former Chanute AFB Rantoul Il; Little Rock Jacksonville AR; Luke AFB

          14185 West Falcon Street Luke AFB AZ (hereinafter the “Site”) from 1988 to 2000 and was living

          on base at the Site during that time. While living on base at the Site, Claimant was exposed to

          PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Kathryn Medlin’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                 69.     Plaintiff Peter Metz resides at 34 W. Greenleaf St., Emmaus, PA 18049. Plaintiff

          was formerly stationed at 132 South 4th St. Emmaus PA; 1774 Riverbend Rd. Allentown PA; 202

          South 5th Emmaus PA; 34 West Greenleaf St. Emmaus PA; Jacksonville NAS Jacksonville FL;

          Jacksonville Naval Base 6801 Roosevelt Blvd Jacksonville FL; USS Fahrion FFG 22 USS Naval

          Ship Jacksonville FL (hereinafter the “Site”) from 1980 to 1986 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Peter Metz’s

          exposure, Plaintiff has been diagnosed with High Cholesterol, Hyperthyroidism, Thyroid

          Abnormality, Thyroid Disease, Thyroid Problems.

                 70.     Plaintiff Tony Muhammad resides at 145 West Broadview Apt 308, Kankakee, IL

          60901. Plaintiff was formerly stationed at Camp Lejune, NC 84 Holcomb Blvd. Marine and Family

          Programs Camp Lejeune NC; Camp Pendleton, CA Building 13150 Camp Pendleton Marine

          Corps Base CA; Fort Lee, VA 500 Lee Avenue Building #5228 Fort Lee VA (hereinafter the



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          “Site”) from 1987 to 1991 and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Tony Muhammad’s exposure, Plaintiff has been diagnosed

          with Kidney Cancer.

                 71.     Plaintiff Julius Murray resides at 9788 Stockporc Cir, Summerville, SC 29485.

          Plaintiff was formerly stationed at Holloman Air Force Base 551 4th Street Holloman AFB NM;

          W Connecticut Ave Holloman AFB NM; W Hill Blvd JB Charleston SC (hereinafter the “Site”)

          from 1997 to 2020 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Julius Murray’s exposure, Plaintiff has been diagnosed with

          Cancer, Colon Cancer.

                 72.     Plaintiff David Myers resides at 4539 County Road 929 B, Brazoria, TX 77422.

          Plaintiff was formerly stationed at 2330 Stanley Rd JBSA Sam Houston San Antonio TX; 2601E

          Paul Jones St NSA Great Lakes Great Lakes IL; 47123 Buse Rd NAVAIR Patuxent River MD;

          Bryce Canyon Rd Mayport NSA Jacksonville FL (hereinafter the “Site”) from 2004 to 2008 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and



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          proximate result of Plaintiff David Myers’s exposure, Plaintiff has been diagnosed with Chronic

          Lymphocytic Leukemia, Lymphoma.

                 73.     Plaintiff Ramon Navarro resides at 7327 University Row, San Antonio, TX 78249.

          Plaintiff was formerly stationed at Lackland AFB 1320 Truemper St Unite 9575 JBSA-Lackland

          AFB Lakeland AFB TX; Sheppard Air Force Base 1810 J Ave Sheppard AFB TX (hereinafter the

          “Site”) from 1971 to 1973 and was living on base at the Site during that time. While living on base

          at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Ramon Navarro’s exposure, Plaintiff has been diagnosed

          with High Cholesterol, Kidney Cancer.

                 74.     Plaintiff Dominick Nigra resides at 8281 SW Cattleya Dr, Stuart, FL 34997.

          Plaintiff was formerly stationed at Mayport Jacksonville FL; Naval Station Norfolk 1530 Gilbert

          St #2000 Norfolk VA (hereinafter the “Site”) from 1989 to 1993 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Dominick

          Nigra’s exposure, Plaintiff has been diagnosed with Hypothyroidism, Thyroid Disease.

                 75.     Plaintiff Patrick O`Dowd resides at 7806 Park View Blvd, La Vista, NE 68128.

          Plaintiff was formerly stationed at 7806 Park View Blvd La Vista NE; Fort Benning GA

          (hereinafter the “Site”) from 1969 to Present and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and



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          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Patrick O`Dowd’s exposure,

          Plaintiff has been diagnosed with Liver Cancer.

                 76.     Plaintiff Dennis Olson resides at 153 Marcia Dr., Austin Town, OH 44515. Plaintiff

          was formerly stationed at 1750 Tomcat Blvd NAS Oceana Virginia Beach VA; 4219 West Mount

          Dr. Youngstown OH (hereinafter the “Site”) from 1974 to 1978 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Dennis

          Olson’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                 77.     Plaintiff Rodrigo Ordonez resides at 113 Big Cliff Ave, Las Vegas, NV 89031.

          Plaintiff was formerly stationed at Lackland AFB San Antonio TX; Nellis AFB Las Vegas NV;

          Wichita Falls TX (hereinafter the “Site”) from 2006 to Present and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Rodrigo

          Ordonez’s exposure, Plaintiff has been diagnosed with Leukemia.

                 78.     Plaintiff Ronald Paffumi resides at 7641 N WINDING TRL, PRESCOTT VLY,

          AZ 86315. Plaintiff was formerly stationed at San Diego CA; 7641 N. Winding Trail Prescott

          Valley AZ (hereinafter the “Site”) from 1985 to 1989 and was living on base at the Site during that



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          time. While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Ronald Paffumi’s exposure,

          Plaintiff has been diagnosed with Kidney and Bladder Problems, Kidney Damage, Kidney Disease.

                 79.     Plaintiff Grayson Papierski resides at 1025 S. Blossom, Mesa, AZ 85206. Plaintiff

          was formerly stationed at Fort Benning GA; Fort Benning 7117 Baltzell Avenue Building #7 Fort

          Benning GA; Fort Hood; Fort Hood T.J. Mills Boulevard Building #121, 761st Tank Battalion

          Avenue Fort Hood TX; Fort Irving CA; Fort Irwin Building #109 Fort Irwin CA; Fort Knox; Fort

          Knox 933 Gold Vault Road Building #121 Fort Knox KY; Fort Sill OK 4301 Wilson St Fort Sill

          OK; Fort Still OK (hereinafter the “Site”) from 1999 to 2003 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily

          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Grayson

          Papierski’s exposure, Plaintiff has been diagnosed with Hyperthyroidism, Thyroid Disease.

                 80.     Plaintiff Gregory Pappas resides at 125 Griffin Way, Canton, GA 30115. Plaintiff

          was formerly stationed at 125 Griffin Way Canton GA; Andrews AFB 11 FSS/FSFR 1191

          Menoher Drive JB Andrews MD; Dakota Ave Joint Base Andrews MD; Military AutoSource

          (MAS) Molesworth On Base Building 323, Huntingdon PE28 0QA Molesworth ; Naval Air

          Station Roosevelt Roads Ceiba PR; US Naval Support Activity 81030 Gricignano di Aversa

          Province of Caserta (hereinafter the “Site”) from 1971 to 2011 and was living on base at the Site

          during that time. While living on base at the Site, Claimant was exposed to PFAS through daily



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          activity and regularly consumed water containing elevated levels of PFAS. Claimant has been

          exposed for many years to PFAS as a result of the PFAS contamination at the Site, including at

          concentrations hazardous to their health. As a direct and proximate result of Plaintiff Gregory

          Pappas’s exposure, Plaintiff has been diagnosed with Prostate Cancer, Thyroid Cancer.

                 81.     Plaintiff Ronald Paquette resides at 5083 Redgum Rd., Tallahassee, FL 32303.

          Plaintiff was formerly stationed at England AFB LA; Lackland AFB TX; Wichita Falls AFB TX

          (hereinafter the “Site”) from 1974 to 1975 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Ronald Paquette’s exposure,

          Plaintiff has been diagnosed with Liver Cancer.

                 82.     Plaintiff James Parnell resides at 217 Glenn Ave., Gallatin, TN 37066. Plaintiff was

          formerly stationed at NAS Oceana 1750 Tomcat Blvd Virginia Beach VA; NAS Oceana 1750

          Tomcat Blvd, Virginia Beach VA; Norfolk Naval Base 1530 Gilbert St #2000 Norfolk VA;

          Norfolk Naval Station 1530 Gilbert St #2000 Norfolk VA (hereinafter the “Site”) from 1990 to

          1994 and was living on base at the Site during that time. While living on base at the Site, Claimant

          was exposed to PFAS through daily activity and regularly consumed water containing elevated

          levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff James Parnell’s exposure, Plaintiff has been diagnosed with

          Leukemia.




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                 83.     Plaintiff Parke Peterson resides at 2820 Gideon Ave, Zion, IL 60099. Plaintiff was

          formerly stationed at NAS Charleston SC; NAS Millington 7698 Hornet Ave Millington, TN

          (hereinafter the “Site”) from 1981 to 1982 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Parke Peterson’s exposure,

          Plaintiff has been diagnosed with Thyroid Cancer, Thyroid Disease.

                 84.     Plaintiff Randall Proffitt resides at 2401 Lakeshore Drive, Apt 154, Old Hickory,

          TN 37138. Plaintiff was formerly stationed at Iceland; Lackland AFB San Antonio TX; Lackland

          Air Force Base 2292 JBSA-Lackland Lackland AFB TX; Nelis AFB NV; Nellis Air Force Base

          5941 Fitzgerald Blvd. Nellis AFB NV; Peterson AFB; Peterson AFB Platte Avenue ;, N Powers

          Blvd Colorado Springs CO; Pittsburgh 171st Airwing PA; Pittsburgh IAP Air Reserve Station

          2475 Brown St Coraopolis PA; Seamore Johnson 1330 Cannon Ave Goldsboro NC; Seymour

          Johnson AFB 1330 Cannon Ave Goldsboro NC (hereinafter the “Site”) from 1995 to 2010 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff Randall Proffitt’s exposure, Plaintiff has been diagnosed with Colon

          Cancer, GERD, Hypothyroidism, Thyroid Disease.

                 85.     Plaintiff Kenneth Queen resides at 4912 Haring Court, Metairie, LA 70006.

          Plaintiff was formerly stationed at 1940 EP Howe Dr Ellsworth AFB SD; 7034 S 1st Ave US Coast



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          Guard Sabine Pass TX; W Military Dr Lackland AFB San Antonio TX (hereinafter the “Site”)

          from 1975 to 1979 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Kenneth Queen’s exposure, Plaintiff has been diagnosed

          with Prostate Cancer.

                 86.     Plaintiff David Rhoades resides at 142 Siddington Way, Lexington, SC 29073.

          Plaintiff was formerly stationed at 1001 Carola Ave Columbia SC; 1342 Ilex St Columbia SC; 142

          Siddington way Lexington SC; 1532 Lax St Columbia SC; 4102 Clinton Way East Augusta GA;

          4102 Plaint Way East Martinez GA; Alameda NB 3rd St ; Alameda Blvd Coronado CA;

          Commander Mine Warfare Command Charleston SC; NRD Atlanta Ga NRS Augusta Ga Augusta

          GA; NRD New Orleans, LA NRS Texarkana, Tx Texarkana TX; Park Dele Dr Charleston SC;

          Park Street Texarkana TX; USS Carl Vinson CVN70 FPO Alameda CA; USS Forrestal CVA59

          FPO Norfolk VA; USS Nimitz CV68 FPO Norfolk VA; USS Orion AS18 FPO La Maddalena,

          Sardinia ; USS Puget Sound AD38 FPO Gaeta (hereinafter the “Site”) from 1974 to 1999 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff David Rhoades’s exposure, Plaintiff has been diagnosed with Blood Cancer, Lymphoma.

                 87.     Plaintiff Dale Richardson resides at 225 Barfield Rd, Sylvester, GA 38791. Plaintiff

          was formerly stationed at Keesler AFB 4503 M St Biloxi MS; Lackland AFB San Antonio TX;



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          Langley AFB 210 Sweeney Blvd, Hampton VA; Reese AFB TX (hereinafter the “Site”) from 1971

          to 1979 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Dale Richardson’s exposure, Plaintiff has been diagnosed with

          Leukemia.

                 88.     Plaintiff Anne Riggs resides at 1533 E. Santiago Lane, Apt AW-11, Cottonwood

          Heights, UT 84121. Plaintiff was formerly stationed at Blythezille AFB AR; Luxee AFB MI;

          Lackland TX; Lowrey CO; Victorville AFB CA; West Germany (hereinafter the “Site”) from 1982

          to 1986 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Anne Riggs’s exposure, Plaintiff has been diagnosed with Thyroid

          Disease.

                 89.     Plaintiff Joey Short resides at 211 Tim Normand Road, Vick, LA 71331. Plaintiff

          was formerly stationed at Fort Benning Fort Benning GA; Fort Hood Fort Hood TX (hereinafter

          the “Site”) from 1992 to 1994 and was living on base at the Site during that time. While living on

          base at the Site, Claimant was exposed to PFAS through daily activity and regularly consumed

          water containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as

          a result of the PFAS contamination at the Site, including at concentrations hazardous to their




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          health. As a direct and proximate result of Plaintiff Joey Short’s exposure, Plaintiff has been

          diagnosed with Hyperthyroidism.

                 90.     Plaintiff David Smallwood resides at 1201 E. St. Germain St., St. Cloud, MN

          56304. Plaintiff was formerly stationed at NAS North Island CA; Point Loma Naval Base CA; San

          Diego Naval Base CA (hereinafter the “Site”) from 1984 to 1987 and was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff David

          Smallwood’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                 91.     Plaintiff Kenneth Smith resides at 2060 Jenner LN, St. Louis, MO 63138. Plaintiff

          was formerly stationed at 1515 S Pulaski Ave Chicago IL; 704 N Central Park Ave Chicago IL;

          7258 S Damen Ave Chicago IL; Great Lakes Great Lakes IL; Portland OR; San Diego Naval Base

          San Diego CA (hereinafter the “Site”) from 1985 to 1989 and was living on base at the Site during

          that time. While living on base at the Site, Claimant was exposed to PFAS through daily activity

          and regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Kenneth Smith’s exposure,

          Plaintiff has been diagnosed with Hyperthyroidism, Thyroid Disease.

                 92.     Plaintiff James Spears resides at 277 Oak Street, Tompkinsville, KY 42167.

          Plaintiff was formerly stationed at 277 Oak Street Tompkinsville KY; Hanscom AFB MA

          (hereinafter the “Site”) from 1968 to 1974 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and



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          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff James Spears’s exposure,

          Plaintiff has been diagnosed with Lymphoma, Prostate Cancer.

                 93.     Plaintiff John Spurgeon resides at 703 W. Main St., Whitesboro, TX 76273.

          Plaintiff was formerly stationed at Camp Lejeune (hereinafter the “Site”) from 1972 to 1973 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS

          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff John Spurgeon’s exposure, Plaintiff has been diagnosed with

          Myeloma.

                 94.     Plaintiff Timothy Stencel resides at 1095 Alden Nash Ave. S. E., Lowell, MI 49331.

          Plaintiff was formerly stationed at Earle weapons depo 201 Hwy 34 Monmouth NJ; Norfolk VA;

          Norfolk NS Norfolk VA (hereinafter the “Site”) from 1995 to 1998 and was living on base at the

          Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff Timothy

          Stencel’s exposure, Plaintiff has been diagnosed with Ulcerative Colitis.

                 95.     Plaintiff Charles Sutter resides at 903 174 St S, Spanaway, WA 98387. Plaintiff

          was formerly stationed at Lackland AFB Gateway East; Building #2292 JBSA-Lackland AFB TX;

          Pease NH; Shepherd AFB 210 Missile Road Sheppard AFB TX (hereinafter the “Site”) from 1959



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          to 1978 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Charles Sutter’s exposure, Plaintiff has been diagnosed with

          Pancreatic Cancer.

                 96.     Plaintiff Clarence Thompson resides at 1181 Bay Dr E, Satellite Beach, FL 32937.

          Plaintiff was formerly stationed at California AFB CA; Holloman AFB Holloman NM; Lackland

          AFB San Antonio TX; Lowry AFB Denver CO; Patrick AFB Patrick FL (hereinafter the “Site”)

          from 1970 to 1991 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Clarence Thompson’s exposure, Plaintiff has been

          diagnosed with Prostate Cancer.

                 97.     Plaintiff George Thompson resides at 6133 Oneida Dr., San Jose, CA 95123.

          Plaintiff was formerly stationed at Alameda Naval Base CA; Alameda Naval Base 2144 Clement

          Ave Alameda CA; Naval Station Pearl Harbor 850 Ticonderoga St JBPHH HI; Pearl Harbor HI;

          San Diego Naval Base CA; San Diego Naval Base CA 3455 Senn St San Diego CA; Treasure

          Island Naval Station 1 Avenue of the Palms CA (hereinafter the “Site”) from 1977 to 1981 and

          was living on base at the Site during that time. While living on base at the Site, Claimant was

          exposed to PFAS through daily activity and regularly consumed water containing elevated levels

          of PFAS. Claimant has been exposed for many years to PFAS as a result of the PFAS



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          contamination at the Site, including at concentrations hazardous to their health. As a direct and

          proximate result of Plaintiff George Thompson’s exposure, Plaintiff has been diagnosed with

          Hyperthyroidism, Thyroid Disease.

                 98.     Plaintiff Tyrone Underwood resides at 2828 Merrion Park Lane, Dacula, GA

          30019. Plaintiff was formerly stationed at Fort Lewis Tacoma WA; Fort Sill Fort Sill OK; Korea

          KOR (hereinafter the “Site”) from 1982 to 1985 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Tyrone Underwood’s

          exposure, Plaintiff has been diagnosed with Myeloma.

                 99.     Plaintiff James Van Skiver resides at 926 Pennsylvania Ave., Etowah, TN 37331.

          Plaintiff was formerly stationed at BMT Pfingston 1800 Truemper St San Antonio TX; Eielson

          AFB 186228 Eielson AFB AK; Lackland Air Force Base 2292 JBSA-Lackland Lackland AFB

          TX; Sheppard AFB 1810 J Ave Sheppard AFB TX; Tinker AFB Staff Dr Tinker AFB OK

          (hereinafter the “Site”) from 1969 to 1972 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff James Van Skiver’s

          exposure, Plaintiff has been diagnosed with Chronic Lymphocytic Leukemia, Diabetes, High

          Blood Pressure, High Cholesterol, Lymphoma.




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                 100.    Plaintiff Herbert Vance resides at 2101 NW 20th St., Oklahoma City, OK 73107.

          Plaintiff was formerly stationed at Chanute Air Force Base Rantoul IL; Minot Air Force Base 196

          Missile Ave Minot AFB ND (hereinafter the “Site”) from 1977 to 1982 and was living on base at

          the Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff Herbert

          Vance’s exposure, Plaintiff has been diagnosed with Pancreatic Cancer.

                 101.    Plaintiff Edward Wales resides at 570 60th St, San Diego, CA 92114. Plaintiff was

          formerly stationed at Dry Docked in San Diego 3455 Senn Rd. San Diego CA; Full pacific tours

          aboard the USS Barbour County; Great lakes 2601 E. Paul Jones Street Great Lakes IL; San Diego,

          CA (hereinafter the “Site”) from 1978 to 1982 and was living on base at the Site during that time.

          While living on base at the Site, Claimant was exposed to PFAS through daily activity and

          regularly consumed water containing elevated levels of PFAS. Claimant has been exposed for

          many years to PFAS as a result of the PFAS contamination at the Site, including at concentrations

          hazardous to their health. As a direct and proximate result of Plaintiff Edward Wales’s exposure,

          Plaintiff has been diagnosed with Liver Cancer.

                 102.    Plaintiff Bruce Wallace resides at 3304 Mirror Lane, Bellevue, NE 68123. Plaintiff

          was formerly stationed at 3304 Mirror Lane, Bellevue NE; 9612 Ames Av, Omaha NE; Grand

          Forks AFB Steen Blvd. Front Gate/Visitors Center; 319 FSS Grand Forks AFB ND; Lackland

          AFB 2602 Luke Blvd Lackland AFB TX; Norway; Offutt AFB Offutt Visitor Control Center;

          SAC Gate; Bldg.. 478 Butler Boulevard Offutt AFB NB; Vandenberg AFB 706 Washington Ave.;

          Bldg. 10122 Vandenberg AFB CA (hereinafter the “Site”) from 1980 to 1984 and was living on



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          base at the Site during that time. While living on base at the Site, Claimant was exposed to PFAS

          through daily activity and regularly consumed water containing elevated levels of PFAS. Claimant

          has been exposed for many years to PFAS as a result of the PFAS contamination at the Site,

          including at concentrations hazardous to their health. As a direct and proximate result of Plaintiff

          Bruce Wallace’s exposure, Plaintiff has been diagnosed with Leukemia.

                 103.    Plaintiff Chester Whittaker resides at 5311 Aloe Ave, Baytown, TX 77521. Plaintiff

          was formerly stationed at Fort Hood Kileen TX; Fort Lee Fort Lee VA (hereinafter the “Site”)

          from 1975 to 1983 and was living on base at the Site during that time. While living on base at the

          Site, Claimant was exposed to PFAS through daily activity and regularly consumed water

          containing elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result

          of the PFAS contamination at the Site, including at concentrations hazardous to their health. As a

          direct and proximate result of Plaintiff Chester Whittaker’s exposure, Plaintiff has been diagnosed

          with Myeloma.

                 104.    Plaintiff Willard Wright Jr resides at 11232 Cross St, Waynesboro, PA 17268.

          Plaintiff was formerly stationed at 282 Ringgold St, Waynesboro Waynesboro PA; 11232 Cross

          Street Waynesboro PA; Marine Air Station, HI; Marine Corps Air Station Beaufort, SC Geiger

          Blvd Beaufort SC; Naval Air Station, GA (hereinafter the “Site”) from 1972 to 1976 and was

          living on base at the Site during that time. While living on base at the Site, Claimant was exposed

          to PFAS through daily activity and regularly consumed water containing elevated levels of PFAS.

          Claimant has been exposed for many years to PFAS as a result of the PFAS contamination at the

          Site, including at concentrations hazardous to their health. As a direct and proximate result of

          Plaintiff Willard Wright Jr’s exposure, Plaintiff has been diagnosed with Cardiac Problems,

          Diabetes, Hypothyroidism, Thyroid Disease.



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                 105.    Plaintiff Kyle Yaple resides at 8 Mayne Ave, Standhope, NJ 07874-. Plaintiff was

          formerly stationed at Great Lakes 2601 E. Paul Jones Street Great Lakes IL; Naval Base 1530

          Gilbert St #2000 Norfolk VA (hereinafter the “Site”) from 2004 to 2007 and was living on base at

          the Site during that time. While living on base at the Site, Claimant was exposed to PFAS through

          daily activity and regularly consumed water containing elevated levels of PFAS. Claimant has

          been exposed for many years to PFAS as a result of the PFAS contamination at the Site, including

          at concentrations hazardous to their health. As a direct and proximate result of Plaintiff Kyle

          Yaple’s exposure, Plaintiff has been diagnosed with Hyperthyroidism.

                 106.    Plaintiff Steven Young resides at 11509 Bent Oaks Street, Parker, CO 80138.

          Plaintiff was formerly stationed at China Lake Naval Base CA (hereinafter the “Site”) from 1979

          to 1983 and was living on base at the Site during that time. While living on base at the Site,

          Claimant was exposed to PFAS through daily activity and regularly consumed water containing

          elevated levels of PFAS. Claimant has been exposed for many years to PFAS as a result of the

          PFAS contamination at the Site, including at concentrations hazardous to their health. As a direct

          and proximate result of Plaintiff Steven Young’s exposure, Plaintiff has been diagnosed with

          Kidney Cancer.

                 107.    Personnel at the Site stored, handled, used, trained with, tested equipment with,

          otherwise discharged AFFF products in their facility, therefore contaminating groundwater

          supplies in the vicinity of the base.

                 108.    Plaintiffs have been exposed to PFAS, have elevated levels of these contaminants

          in their blood, and are at an increased risk of health effects, changes in thyroid hormone, kidney

          cancer, and other autoimmune diseases.




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                  109.    Plaintiffs have a legitimate fear of developing additional injuries as a result of their

          exposure to PFAS, including but not limited to effects on the liver and immune system, high

          cholesterol levels, changes in thyroid hormone, kidney cancer and other autoimmune diseases.

                  B.      Defendants

                  110.    The term “Defendants” refers to all Defendants named herein jointly and severally.

                            i.    The AFFF Defendants

                  111.    The term “AFFF Defendants” refers collectively to Defendants 3M Company,

          Angus International Safety Group, Ltd., Amerex Corporation, Buckeye Fire Equipment Company,

          Carrier Global Corporation, Central Sprinkler, LLC, Chemguard Inc., Fire Products GP Holding,

          LLC, Johnson Controls International PLC, Kidde-Fenwal, Inc., and Tyco Fire Products L.P.,

                  112.    Defendant The 3M Company f/k/a Minnesota Mining and Manufacturing Co.

          (“3M”) is a corporation organized and existing under the laws of the State of Delaware, with its

          principal place of business located at 3M Center, St. Paul, Minnesota 55144-1000.

                  113.    Beginning before 1970 and until at least 2002, 3M designed, manufactured,

          marketed, distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.

                  114.    Defendant Amerex Corporation (“Amerex”) is a corporation organized and

          existing under the laws of the State of Alabama, with its principal place of business located at 7595

          Gadsden Highway, Trussville, AL 35173.

                  115.    Amerex is a manufacturer of firefighting products. Beginning in 1971, it was a

          manufacturer of hand portable and wheeled extinguishers for commercial and industrial

          applications.

                  116.    In 2011, Amerex acquired Solberg Scandinavian AS, one of the largest

          manufacturers of AFFF products in Europe.

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                  117.     On information and belief, beginning in 2011, Amerex designed, manufactured,

          marketed distributed, and sold AFFF containing PFAS, including but not limited to PFOA and

          PFOS.

                  118.     Defendant Tyco Fire Products LP (“Tyco”) is a limited partnership organized

          under the laws of the State of Delaware, with its principal place of business located at One Stanton

          Street, Marinette, Wisconsin 54143-2542.

                  119.     Tyco is the successor in interest of The Ansul Company (“Ansul”), having acquired

          Ansul in 1990.

                  120.     Beginning in or around 1975, Ansul designed, manufactured, marketed, distributed,

          and sold AFFF containing PFAS, including but not limited to PFOA and PFOS.

                  121.     After Tyco acquired Ansul in 1990, Tyco/Ansul continued to design, manufacture,

          market, distribute, and sell AFFF products containing PFAS, including but not limited to PFOA

          and PFOS.

                  122.     Defendant Chemguard, Inc. (“Chemguard”) is a corporation organized under

          the laws of the State of Texas, with its principal place of business located at One Stanton Street,

          Marinette, Wisconsin 54143.

                  123.     On information and belief, Chemguard designed, manufactured, marketed,

          distributed, and sold AFFF products containing PFAS, including but not limited to PFOA and

          PFOS.

                  124.     On information and belief, Chemguard was acquired by Tyco International Ltd. in

          2011.




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                 125.    On information and belief, Tyco International Ltd. later merged into its subsidiary

          Tyco International plc in 2014 to change its jurisdiction of incorporation from Switzerland to

          Ireland.

                 126.    Defendant Buckeye Fire Equipment Company (“Buckeye”) is a corporation

          organized under the laws of the State of Ohio, with its principal place of business located at 110

          Kings Road, Kings Mountain, North Carolina 28086.

                 127.    On information and belief, Buckeye designed, manufactured, marketed, distributed,

          and sold AFFF products containing PFAS, including but not limited to PFOA and PFOS.

                 128.    Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at One Financial Plaza,

          Hartford, Connecticut 06101.

                 129.    On information and belief, Kidde-Fenwal was an operating subsidiary of Kidde

          P.L.C. and manufactured AFFF following Kidde P.L.C.’s acquisition by United Technologies

          Corporation.

                 130.    On information and belief, Kidde-Fenwal is the entity that divested the AFFF

          business unit now operated by National Foam in 2013.

                 131.    Defendant Carrier Global Corporation (“Carrier”) is a corporation organized

          under the laws of the State of Delaware, with its principal place of business at 13995 Pasteur

          Boulevard, Palm Beach Gardens, Florida 33418.

                 132.    On information and belief, Carrier was formed in March 2020 when United

          Technologies Corporation spun off its fire and security business before it merged with Raytheon

          Company in April 2020.




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                 133.    On information and belief, Kidde-Fenwal became a subsidiary of Carrier when

          United Technologies Corporation spun off its fire and security business in March 2020.

                 134.    On information and belief, the AFFF Defendants designed, manufactured,

          marketed, distributed, and sold AFFF products containing PFOS, PFOA, and/or their chemical

          precursors that were stored, handled, used, trained with, tested equipment with, otherwise

          discharged, and/or disposed at the Sites.

                           ii.   The Fluorosurfactant Defendants

                 135.    The term “Fluorosurfactant Defendants” refers collectively to Defendants 3M,

          Arkema Inc., ChemDesign Products Incorporated, Chemguard Inc., Deepwater Chemicals, Inc.,

          E.I. DuPont de Nemours and Company, The Chemours Company, The Chemours Company FC,

          LLC, DuPont de Nemours Inc., and Dynax Corporation.

                 136.    Defendant Arkema Inc. is a corporation organized and existing under the laws of

          Pennsylvania, with its principal place of business at 900 First Avenue, King of Prussia, PA 19406.

                 137.    Arkema Inc. develops specialty chemicals and polymers.

                 138.    Arkema, Inc. is an operating subsidiary of Arkema France, S.A.

                 139.    On information and belief, Arkema Inc. designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products.

                 140.    Defendant ChemDesign Products Inc. (“ChemDesign”) is a corporation

          organized under the laws of Delaware, with its principal place of business located at 2 Stanton

          Street, Marinette, WI, 54143.

                 141.    On information and belief, ChemDesign designed, manufactured, marketed,

          distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors

          for use in AFFF products
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                 142.    Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a corporation organized

          under the laws of Delaware, with its principal place of business located at 196122 E County Road

          40, Woodward, OK, 73801.

                 143.    On information and belief, Deepwater Chemicals designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products

                 144.    Defendant Dynax Corporation (“Dynax”) is a corporation organized under the

          laws of the State of Delaware, with its principal place of business located at 103 Fairview Park

          Drive, Elmsford, New York 10523.

                 145.    On information and belief, Dynax entered into the AFFF market on or about 1991

          and quickly became a leading global producer of fluorosurfactants and fluorochemical stabilizers

          containing PFOS, PFOA, and/or their chemical precursors.

                 146.    On information and belief, Dynax designed, manufactured, marketed, distributed,

          and sold fluorosurfactants and fluorochemical stabilizers containing PFOS, PFOA, and/or their

          chemical precursors for use in AFFF products.

                 147.    Defendant E.I. du Pont de Nemours & Company (“DuPont”) is a corporation

          organized under the laws of the State of Delaware, with its principal place of business located at

          974 Centre Road, Wilmington, Delaware 19805.

                 148.    Defendant The Chemours Company (“Chemours Co.”) is a limited liability

          company organized under the laws of the State of Delaware, with its principal place of business

          located at 1007 Market Street, P.O. Box 2047, Wilmington, Delaware, 19899.

                 149.    In 2015, DuPont spun off its performance chemicals business to Chemours Co.,

          along with vast environmental liabilities which Chemours Co. assumed, including those related to



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          PFOS and PFOA and fluorosurfactants. On information and belief, Chemours Co. has supplied

          fluorosurfactants containing PFOS and PFOA, and/or their chemical precursors to manufacturers

          of AFFF products.

                 150.       On information and belief, Chemours Co. was incorporated as a subsidiary of

          DuPont as of April 30, 2015. From that time until July 2015, Chemours Co. was a wholly-owned

          subsidiary of DuPont.

                 151.       In July 2015, DuPont spun off Chemours Co. and transferred to Chemours Co. its

          “performance chemicals” business line, which includes its fluoroproducts business, distributing

          shares of Chemours Co. stock to DuPont stockholders, and Chemours Co. has since been an

          independent, publicly-traded company.

                 152.       Defendant The Chemours Company FC, LLC (“Chemours FC”) is a limited

          liability company organized under the laws of the State of Delaware, with its principal place of

          business located at 1007 Market Street, Wilmington, Delaware, 19899.

                 153.       Defendant Corteva, Inc. (“Corteva”) is a corporation organized and existing

          under the laws of Delaware, with its principal place of business at 974 Centre Rd., Wilmington,

          Delaware 19805.

                 154.       Defendant Dupont de Nemours Inc. f/k/a DowDuPont, Inc. (“Dupont de

          Nemours Inc.”) is a corporation organized and existing under the laws of Delaware, with its

          principal place of business at 974 Centre Road, Wilmington, Delaware 19805 and 2211 H.H. Dow

          Way, Midland, Michigan 48674.

                 155.       On June 1, 2019, DowDuPont separated its agriculture business through the spin-

          off of Corteva.




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                 156.    Corteva was initially formed in February 2018. From that time until June 1, 2019,

          Corteva was a wholly-owned subsidiary of DowDuPont.

                 157.    On June 1, 2019, DowDuPont distributed to DowDuPont stockholders all issued

          and outstanding shares of Corteva common stock by way of a pro-rata dividend. Following that

          distribution, Corteva became the direct parent of E. I. Du Pont de Nemours & Co.

                 158.    Corteva holds certain DowDuPont assets and liabilities, including DowDuPont’s

          agriculture and nutritional businesses.

                 159.    On June 1, 2019, DowDuPont, the surviving entity after the spin-off of Corteva and

          of another entity known as Dow, Inc., changed its name to DuPont de Nemours, Inc., to be known

          as DuPont (“New DuPont”). New DuPont retained assets in the specialty products business lines

          following the above-described spin-offs, as well as the balance of the financial assets and liabilities

          of E.I DuPont not assumed by Corteva.

                 160.    Defendants E. I. Du Pont de Nemours and Company; The Chemours Company;

          The Chemours Company FC, LLC; Corteva, Inc.; and DuPont de Nemours, Inc. are collectively

          referred to as “DuPont” throughout this Complaint.

                 161.    On information and belief, DuPont designed, manufactured, marketed, distributed,

          and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in

          AFFF products.

                 162.    On information and belief, 3M and Chemguard also designed, manufactured,

          marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or their chemical

          precursors for use in AFFF products.

                 163.    On information and belief, the Fluorosurfactant Defendants                    designed,

          manufactured, marketed, distributed, and sold fluorosurfactants containing PFOS, PFOA, and/or



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          their chemical precursors for use in AFFF products that were stored, handled, used, trained with,

          tested equipment with, otherwise discharged, and/or disposed at the Sites.

                          iii.   The PFC Defendants

                 164.    The term “PFC Defendants” refers collectively to 3M, AGC Chemicals Americas

          Inc., Archroma U.S. Inc., ChemDesign Products Inc., Chemicals, Inc., Clariant Corporation,

          Deepwater Chemicals, Inc., E. I. DuPont de Nemours and Company, The Chemours Company,

          The Chemours Company FC, LLC, Corteva, Inc., DuPont de Nemours Inc., and Nation Ford

          Chemical Company.

                 165.    Defendant AGC Chemicals Americas, Inc. (“AGC”) is a corporation organized

          and existing under the laws of Delaware, having its principal place of business at 55 East Uwchlan

          Avenue, Suite 201, Exton, PA 19341.

                 166.    On information and belief, AGC Chemicals Americas, Inc. was formed in 2004 and

          is a subsidiary of AGC Inc., a foreign corporation organized under the laws of Japan, with its a

          principal place of business in Tokyo, Japan.

                 167.    AGC manufactures specialty chemicals. It offers glass, electronic displays, and

          chemical products, including resins, water and oil repellants, greenhouse films, silica additives,

          and various fluorointermediates.

                 168.    On information and belief, AGC designed, manufactured, marketed, distributed,

          and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing

          the fluorosurfactants used in AFFF products.

                 169.    Defendant Archroma U.S., Inc. (“Archroma”) is a corporation organized and

          existing under the laws of Delaware, with its a principal place of business at 5435 77 Center Drive,

          Charlotte, North Carolina 28217.



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                 170.    On information and belief, Archroma was formed in 2013 when Clariant

          Corporation divested its textile chemicals, paper specialties, and emulsions business to SK Capital

          Partners.

                 171.    On information and belief, Archroma designed, manufactured, marketed,

          distributed, and sold PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 172.    Defendant Chemicals, Inc. (“Chemicals, Inc.”) is a corporation organized and

          existing under the laws of Texas, with its principal place of business located at 12321 Hatcherville,

          Baytown, TX 77520.

                 173.    On information and belief, Chemicals, Inc. supplied PFCs containing PFOS,

          PFOA, and/or their chemical precursors for use in manufacturing the fluorosurfactants used in

          AFFF products.

                 174.    Defendant Clariant Corporation (“Clariant”) is a corporation organized and

          existing under the laws of New York, with its principal place of business at 4000 Monroe Road,

          Charlotte, North Carolina 28205.

                 175.    On information and belief, Clariant is the successor in interest to the specialty

          chemicals business of Sandoz Chemical Corporation (“Sandoz”). On information and belief,

          Sandoz spun off its specialty chemicals business to form Clariant in 1995.

                 176.    On information and belief, Clariant supplied PFCs containing PFOS, PFOA, and/or

          their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF products.

                 177.    Defendant Nation Ford Chemical Co. (“Nation Ford”) is a corporation

          organized and existing under the laws of South Carolina, with its principal place of business

          located at 2300 Banks Street, Fort Mill, SC 29715.



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                 178.    On information and belief, Nation Ford supplied PFCs containing PFOS, PFOA,

          and/or their chemical precursors for use in manufacturing the fluorosurfactants used in AFFF

          products.

                 179.    On information and belief, 3M, ChemDesign, Deepwater Chemicals, and DuPont

          also supplied PFCs containing PFOS, PFOA, and/or their chemical precursors for use in

          manufacturing the fluorosurfactants used in AFFF products.

                 180.    On information and belief, the Fluorochemical Defendants supplied PFCs

          containing PFOS, PFOA, and/or their chemical precursors for use in manufacturing the

          fluorosurfactants used in AFFF products that were stored, handled, used, trained with, tested

          equipment with, otherwise discharged, and/or disposed at the Sites.

                          iv.    Company XYZ 1-20

                 181.    Company XYZ 1-20 are unidentified entities or persons whose names are presently

          unknown and whose actions, activities, omissions (a) may have permitted, caused and/or

          contributed to the contamination of Plaintiff’s water sources or supply wells; or (b) may be

          vicariously responsible for entities or persons who permitted, caused and/or contributed to the

          contamination of Plaintiff’s water sources or supply wells; or (c) may be successors in interest to

          entities or persons who permitted, caused and/or permitted , contributed to the contamination of

          Plaintiff’s water sources or supply wells. After reasonable search and investigation to ascertain the

          Company XYZ actual names, the Company XYZ’s actual identities are unknown to Plaintiff as

          they are not linked with any of the Defendants on any public source.

                 182.    The Company XYZ 1-20 either in their own capacity or through a party they are

          liable for: (1) designed, manufactured, marketed, distributed, and/or sold AFFF products

          containing PFOS, PFOA, and/or their chemical precursors, and/or designed, manufactured,

          marketed, distributed, and/or sold the fluorosurfactants and/or PFCs contained in
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          AFFF/Component Products; or (2) used, handled, transported, stored, discharged, disposed of,

          designed, manufactured, marketed, distributed, and/or sold PFOS, PFOA, and/or their chemical

          precursors, or other non-AFFF products containing PFOS, PFOA, and/or their chemical

          precursors; or (3) failed to timely perform necessary and reasonable response and remedial

          measures to releases of PFOS, PFOA, and/or their chemical precursors, or other non-AFFF

          products containing PFOS, PFOA, and/or their chemical precursors in to the environment in which

          Plaintiff’s water supplies and well exist.

                 183.    All Defendants, at all times material herein, acted by and through their respective

          agents, servants, officers and employees, actual or ostensible, who then and there were acting

          within the course and scope of their actual or apparent agency, authority or duties. Defendants are

          liable based on such activities, directly and vicariously.

                 184.    Defendants represent all or substantially all of the market for AFFF/Component

          Products at the Sites.

                  FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION

                 A.      PFOA and PFOS and Their Risk to Public Health

                 185.    PFAS are chemical compounds containing fluorine and carbon. These substances

          have been used for decades in the manufacture of, among other things, household and commercial

          products that resist heat, stains, oil, and water. These substances are not naturally occurring and

          must be manufactured.

                 186.    The two most widely studied types of these substances are PFOA and PFOS.

                 187.    PFOA and PFOS have unique properties that cause them to be: (i) mobile and

          persistent, meaning that they readily spread into the environment where they break down very

          slowly; (ii) bioaccumulative and biomagnifying, meaning that they tend to accumulate in



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          organisms and up the food chain; and (iii) toxic, meaning that they pose serious health risks to

          humans and animals.

                 188.       PFOA and PFOS easily dissolve in water, and thus they are mobile and easily

          spread in the environment. PFOA and PFOS also readily contaminate soils and leach from the soil

          into groundwater, where they can travel significant distances.

                 189.       PFOA and PFOS are characterized by the presence of multiple carbon-fluorine

          bonds, which are exceptionally strong and stable. As a result, PFOA and PFOS are thermally,

          chemically, and biologically stable. They resist degradation due to light, water, and biological

          processes.

                 190.       Bioaccumulation occurs when an organism absorbs a substance at a rate faster than

          the rate at which the substance is lost by metabolism and excretion. Biomagnification occurs when

          the concentration of a substance in the tissues of organisms increases as the substance travels up

          the food chain.

                 191.       PFOA and PFOS bioaccumulate/biomagnify in numerous ways. First, they are

          relatively stable once ingested, so that they bioaccumulate in individual organisms for significant

          periods of time. Because of this stability, any newly ingested PFOA and PFOS will be added to

          any PFOA and PFOS already present. In humans, PFOA and PFOS remain in the body for years.

                 192.       PFOA and PFOS biomagnify up the food chain. This occurs, for example, when

          humans eat fish that have ingested PFOA and/or PFOS.

                 193.       The chemical structure of PFOA and PFOS makes them resistant to breakdown or

          environmental degradation. As a result, they are persistent when released into the environment.

                 194.       Exposure to PFAS is toxic and poses serious health risks to humans and animals.




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                  195.    PFAS are readily absorbed after consumption or inhalation and accumulate

          primarily in the bloodstream, kidney, and liver.

                  B.      Defendants’ Manufacture and Sale of AFFF/Component Products

                  196.    AFFF is a type of water-based foam that was first developed in the 1960s to

          extinguish hydrocarbon fuel-based fires.

                  197.    AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

          fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.

                  198.    AFFF is synthetically formed by combining fluorine-free hydrocarbon foaming

          agents with fluorosurfactants. When mixed with water, the resulting solution produces an aqueous

          film that spreads across the surface of hydrocarbon fuel. This film provides fire extinguishment

          and is the source of the designation aqueous film-forming foam.

                  199.    Beginning in the 1960s, the AFFF Defendants designed, manufactured, marketed,

          distributed, and/or sold AFFF products that used fluorosurfactants containing either PFOS, PFOA,

          or the chemical precursors that degrade into PFOS and PFOA.

                  200.    AFFF can be made without the fluorosurfactants that contain PFOA, PFOS, and/or

          their precursor chemicals. Fluorine-free firefighting foams, for instance, do not release PFOA,

          PFOS, and/or their precursor chemicals into the environment.

                  201.    AFFF that contains fluorosurfactants, however, is better at extinguishing

          hydrocarbon fuel-based fires due to their surface-tension lowering properties, essentially

          smothering the fire and starving it of oxygen.

                  202.    The fluorosurfactants used in 3M’s AFFF products were manufactured by 3M’s

          patented process of electrochemical fluorination (“ECF”).

                  203.    The fluorosurfactants used in other AFFF products sold by the AFFF Defendants

          were manufactured by the Fluorosurfactant Defendants through the process of telomerization.
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                 204.      The PFCs the Fluorosurfactant Defendants needed to manufacture those

          fluorosurfactants contained PFOS, PFOA, and/or their chemical precursors and were designed,

          manufactured, marketed, distributed and/or sold by the PFC Defendants.

                 205.      On information and belief, the PFC and Fluorosurfactant Defendants were aware

          that the PFCs and fluorosurfactants they designed, manufactured, marketed, distributed, and/or

          sold would be used in the AFFF products designed, manufactured, marketed, distributed, and/or

          sold by the AFFF Defendants.

                 206.      On information and belief, the PFC and Fluorosurfactant Defendants designed,

          manufactured, marketed, distributed, and/or sold the PFC and/or fluorosurfactants contained in the

          AFFF products discharged into the environment at the Site during fire protection, training, and

          response activities, resulting in widespread PFAS contamination.

                 207.      On information and belief, the AFFF Defendants designed, manufactured,

          marketed, distributed, and/or sold the AFFF products discharged into the environment at the Site

          during fire protection, training, and response activities, resulting in widespread PFAS

          contamination.

                 C.        Defendants’ Knowledge of the Threats to Public Health and the Environment
                           Posed by PFOS and PFOA

                 208.      On information and belief, by at least the 1970s 3M and DuPont knew or should

          have known that PFOA and PFOS are mobile and persistent, bioaccumulative and biomagnifying,

          and toxic.

                 209.      On information and belief, 3M and DuPont concealed from the public and

          government agencies its knowledge of the threats to public health and the environment posed by

          PFOA and PFOS.




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                  210.     Some or all of the Defendants understood how stable the fluorinated surfactants

          used in AFFF are when released into the environment from their first sale to a customer, yet they

          failed to warn their customers or provide reasonable instruction on how to manage wastes

          generated from their products.

                              i.    1940s and 1950s: Early Warnings About the Persistence of AFFF

                  211.     In 1947, 3M started its fluorochemical program, and within four years, it began

          selling its PFOA to DuPont. The persistence and contaminating nature of the fluorosurfactants

          contained in AFFF products were understood prior to their commercial application at 3M’s Cottage

          Grove facility in Minnesota.

                  212.     The inventor of 3M’s ECF process was J.H. Simons. Simons’ 1948 patent for the

          ECF process reported that PFCs are “non-corrosive, and of little chemical reactivity,” and “do not

          react with any of the metals at ordinary temperatures and react only with the more chemically

          reactive metals such as sodium, at elevated temperatures.”1

                  213.     Simons further reported that fluorosurfactants produced by the ECF process do not

          react with other compounds or reagents due to the blanket of fluorine atoms surrounding the carbon

          skeleton of the molecule. 3M understood that the stability of the carbon-to-fluorine bonds

          prevented its fluorosurfactants from undergoing further chemical reactions or degrading under

          natural processes in the environment.2

                  214.     The thermal stability of 3M’s fluorosurfactants was also understood prior to

          commercial production. Simons’ patent application further discloses that the fluorosurfactants




               1
                 Simons, J. H., Fluorination of Organic Compounds, U.S. Patent No. 2,447,717. August 24, 1948, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1005.pdf.
               2
                 Simons, J. H., 1950. Fluorocarbons and Their Production. Fluorine Chemistry, 1(12): 401-422, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3008.pdf.

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          produced by the ECF process were thermally stable at temperatures up to 750° C (1382º F).

          Additional research by 3M expanded the understanding of the thermal stability of perfluorocarbon

          compounds.3

                        215.    Nowhere in any Material Safety Data Sheet for any of Defendants’

          AFFF/Component Products is information on the thermal stability of those products disclosed.

          Failure to disclose knowledge of the stability of the PFCs and fluorosurfactants used in AFFF

          products to customers is a failure to warn just how indestructible the AFFF’s ingredients are when

          released to unprotected water sources and even treatment plants.

                                  ii.    1960s: AFFF’s Environmental Hazards Come into Focus

                        216.    By at least the end of the 1960s, additional research and testing performed by 3M

          and DuPont indicated that fluorosurfactants, including at least PFOA, because of their unique

          chemical structure, were resistant to environmental degradation and would persist in the

          environment essentially unaltered if allowed to enter the environment.

                        217.    One 3M employee wrote in 1964: “This chemical stability also extends itself to all

          types of biological processes; there are no known biological organisms that are able to attack the

          carbon-fluorine bond in a fluorocarbon.”4 Thus, 3M knew by the mid-1960s that its surfactants

          were immune to chemical and biological degradation in soils and groundwater.

                        218.    3M also knew by 1964 that when dissolved, fluorocarbon carboxylic acids and

          fluorocarbon sulfonic acids dissociated to form highly stable perfluorocarboxylate and

          perfluorosulfonate ions. Later studies by 3M on the adsorption and mobility of FC-95 and FC-143



                 3
                     Bryce, T. J., 1950. Fluorocarbons - Their Properties and Wartime Development. Fluorine Chemistry, 1(13): 423-
          462.
               4
                  Bryce, H.G., Industrial and Utilitarian Aspects of Fluorine Chemistry (1964),                     available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX3022.pdf.

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          (the ammonium salt of PFOA) in soils indicated very high solubility and very high mobility in

          soils for both compounds.5

                              iii.   1970s: Internal Studies Provide Evidence of Environmental and Health
                                     Risks

                    219.     By 1950, 3M knew that the fluorosurfactants used in its AFFF product(s) would

          not degrade when released to the environment, but would remain intact and persist. Two decades

          later—and after the establishment of a robust market of AFFFs using fluorosurfactants—3M

          finally got around to looking at the environmental risks that fluorosurfactants posed.

                    220.     An internal memo from 3M in 1971 states that “the thesis that there is ‘no natural

          sink’ for fluorocarbons obviously demands some attention.”6 Hence, 3M understood at the very

          least that the fluorosurfactant used in its AFFF products would, in essence, never degrade once it

          was released into the environment.

                    221.     By the mid-1970s, 3M and Ansul (and possibly other Defendants) had an intimate

          understanding of the persistent nature of PFCs. A 1976 study, for example, observed no

          biodegradation of FC-95, the potassium salt of PFOS; a result 3M characterized as “unsurprising”

          in light of the fact that “[b]iodegradation of FC 95 is improbable because it is completely

          fluorinated.”7

                    222.     In 1977, Ansul authored a report titled “Environmentally Improved AFFF,” which

          acknowledged that releasing AFFF into the environment could pose potential negative impacts to

          groundwater quality.8 Ansul wrote: “The purpose of this work is to explore the development of


              5
                 Technical Report Summary re : Adsorption of FC 95 and FC143 on Soil, Feb. 27, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1158.pdf.
              6
                Memorandum from H.G. Bryce to R.M. Adams re : Ecological Aspects of Fluorocarbons, Sept. 13, 1971,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1088.pdf.
              7
                  Technical Report Summary, August 12, 1976 [3MA01252037].
              8
                  Ansul Co., Final Report: Environmentally Improved AFFF, N00173-76-C-0295, Marinette, WI, Dec. 13, 1977,

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          experimental AFFF formulations that would exhibit reduced impact on the environment while

          retaining certain fire suppression characteristic . . . improvements [to AFFF formulations] are

          desired in the environmental area, i.e., development of compositions that have a reduced impact

          on the environment without loss of fire suppression effectiveness.” Thus, Ansul knew by the mid-

          1970s that the environmental impact of AFFF needed to be reduced, yet there is no evidence that

          Ansul (or any other Defendant) ever pursued initiatives to do so.

                   223.     A 1978 3M biodegradation study likewise reported that an “extensive study

          strongly suggest[ed]” one of its PFCs is “likely to persist in the environment for extended period

          unaltered by metabolic attack.”9 A year later, a 3M study reported that one of its fluorosurfactants

          “was found to be completely resistant to biological test conditions,” and that it appeared waterways

          were the fluorosurfactant’s “environmental sink.”10

                   224.     In 1979, 3M also completed a comprehensive biodegradation and toxicity study

          covering investigations between 1975 and 1978.11 More than a decade after 3M began selling

          AFFF containing fluorosurfactants it wrote: “there has been a general lack of knowledge relative

          to the environmental impact of these chemicals.” The report ominously asked, “If these materials

          are not biodegradable, what is their fate in the environment?”

                   225.     During the 1970s, 3M also learned that the fluorosurfactants used in AFFF

          accumulated in the human body and were “even more toxic” than previously believed.




          available at https://apps.dtic.mil/dtic/tr/fulltext/u2/a050508.pdf.
              9
                Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
          Fluorocarbons - II, Jan. 1, 1978, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1153.pdf.
               10
                  Technical Report Summary re : Fate of Fluorochemicals in the Environment, Biodegradation Studies of
          Fluorocarbons           -          III,        July        19,          1978,         available          at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1179.pdf.
               11
                  Technical Report Summary, Final Comprehensive Report on FM 3422, Feb. 2, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2563.pdf.

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                   226.    In 1975, 3M learns that PFAS was present in the blood of the general population.12

          Since PFOA and PFOS are not naturally occurring, this finding should have alerted 3M to the

          possibility that their products were a source of this PFOS. The finding also should have alerted 3M

          to the possibility that PFOS might be mobile, persistent, bioaccumulative, and biomagnifying, as

          those characteristics could explain how PFOS from 3M's products ended up in human blood.

                   227.    In 1976, 3M found PFAS in the blood of its workers at levels “up to 1000 times

          ‘normal’ amounts of organically bound fluorine in their blood.”13 This finding should have alerted

          3M to the same issues raised by the prior year’s findings.

                   228.    Studies by 3M in 1978 showed that PFOA reduced the survival rate of fathead

          minnow fish eggs,14 that PFOS was toxic to monkeys,15 and that PFOS and PFOA were toxic to

          rats.16 In the study involving monkeys and PFOS, all of the monkeys died within days of ingesting

          food contaminated with PFOS.

                   229.    In 1979, 3M and DuPont discussed 3M’s discovery of PFOA in the blood of its

          workers and came to the same conclusion that there was “no reason” to notify the EPA of the

          finding.17


              12
                Memorandum from G.H. Crawford to L.C. Krogh et al. re: Fluorocarbons in Human Blood Plasma, Aug. 20,
          1975, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1118.pdf.
              13
                    3M     Chronology     –    Fluorochemicals  in  Blood,        Aug.     26,    1977,    available    at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1144.pdf.
              14
                  The Effects of Continuous Aqueous Exposure to 78.03 on Hatchability of Eggs and Growth and Survival of
          Fry           of          Fathead         Minnow,            June          1978,          available         at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1176.pdf.
               15
                   Ninety-Day Subacute Rhesus Monkey Toxicity Study, Dec. 18, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1191.pdf; Aborted FC95 Monkey Study, Jan. 2, 1979,
          available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1193.pdf.
               16
                   Acute Oral Toxicity (LD50) Study in Rats (FC-143), May 5, 1978, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1170.pdf; FC-95, FC-143 and FM-3422 – 90 Day
          Subacute Toxicity Studies Conducted at IRDC – Review of Final Reports and Summary, Mar. 20, 1979, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1199.pdf.
              17
                 Memorandum from R.A. Prokop to J.D. Lazerte re: Disclosure of Information on Levels of Fluorochemicals in
          Blood, July 26, 1979, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX2723.pdf.

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                               iv.    1980s and 1990s: Evidence of AFFF’s Health Risks Continues to Mount

                     230.     By at least the end of the 1980s, additional research and testing performed by

          Defendants, including at least 3M and DuPont, indicated that elevated incidence of certain cancers

          and other adverse health effects, including elevated liver enzymes and birth defects, had been

          observed among workers exposed to such materials, including at least PFOA, but such data was

          not published, provided to governmental entities as required by law, or otherwise publicly

          disclosed at the time.

                     231.     In 1981, DuPont tested for and found PFOA in the blood of female plant workers

          Parkersburg, West Virginia. DuPont observed and documented pregnancy outcomes in exposed

          workers, finding two of seven children born to female plant workers between 1979 and 1981 had

          birth defects—one an “unconfirmed” eye and tear duct defect, and one a nostril and eye defect. 18

                     232.     In 1983, 3M researchers concluded that concerns about PFAS “give rise to concern

          for environmental safety,” including “legitimate questions about the persistence, accumulation

          potential, and ecotoxicity of fluorochemicals in the environment.”19 That same year, 3M completed

          a study finding that PFOS caused the growth of cancerous tumors in rats.20 This finding was later

          shared with DuPont and led them to consider whether “they may be obliged under their policy to

          call FC-143 a carcinogen in animals.”21




              18
                   C-8 Blood Sampling Results, available at http://tiny.cc/v8z1mz.
              19
                  3M Environmental Laboratory (EE & PC), Fate of Fluorochemicals - Phase II, May 20, 1983, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1284.pdf.
               20
                  Two Year Oral (Diet) Toxicity/Carcinogenicity Study of Fluorochemical FC-143 in Rats, Volume 1 of 4, Aug.
          29, 1987, available at https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1337.pdf.
              21
                  Memorandum from R.G. Perkins to F.D. Griffith re: Summary of the Review of the FC-143 Two-Year Feeder
          Study Report to be presented at the January 7, 1988 meeting with DuPont, January 5, 1988, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1343.pdf.

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                  233.    In 1984, 3M documented a trend of increasing levels of PFOS in the bodies of 3M

          workers, leading one of the company’s medical officers to warn in an internal memo: “we must

          view this present trend with serious concern. It is certainly possible that . . . exposure opportunities

          are providing a potential uptake of fluorochemicals that exceeds excretion capabilities of the

          body.”22

                  234.    A 1997 material safety data sheet (“MSDS”) for a non-AFFF product made by 3M

          listed its only ingredients as water, PFOA, and other perfluoroalkyl substances and warned that the

          product includes “a chemical which can cause cancer.” The MSDS cited “1983 and 1993 studies

          conducted jointly by 3M and DuPont” as support for this statement. On information and belief, the

          MSDS for 3M’s AFFF products did not provide similar warnings or information.

                            v.    Defendants Hid What They Knew from the Government and the Public.

                  235.    Federal law requires chemical manufacturers and distributors to immediately notify

          the EPA if they have information that “reasonably supports the conclusion that such substance or

          mixture presents a substantial risk of injury to health or the environment.” Toxic Substances

          Control Act (“TSCA”) § 8(e), 15 U.S.C. § 2607(e)

                  236.    In April 2006, 3M agreed to pay EPA a penalty of more than $1.5 million after

          being cited for 244 violations of the TSCA, which included violations for failing to disclose studies

          regarding PFOS, PFOA, and other PFCs dating back decades.

                  237.    Likewise, in December 2005, the EPA announced it was imposing the “Largest

          Environmental Administrative Penalty in Agency History” against DuPont based on evidence that

          it violated the TSCA by concealing the environmental and health effects of PFOA.




               22
                  Memorandum from D.E. Roach to P.F. Riehle re: Organic Fluorine Levels, Aug. 31, 1984, available at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1313.pdf.

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                  238.    On information and belief, Defendants knew or should have known that AFFF

          containing PFOA or PFOS would very likely injure and/or threaten public health and the

          environment, even when used as intended or directed.

                  239.    Defendants failed to warn of these risks to the environment and public health,

          including the impact of their AFFF/Component Products on the quality of unprotected water

          sources.

                  240.    Defendants were all sophisticated and knowledgeable in the art and science of

          designing, formulating, and manufacturing AFFF/Component Products. They understood far more

          about the properties of their AFFF/Component Products—including the potential hazards they

          posed to human health and the environment—than any of their customers. Still, Defendants

          declined to use their sophistication and knowledge to design safer products.

                  D.      The Impact of PFOS and PFOA on the Environment and Human Health Is
                          Finally Revealed

                  241.    As discussed above, neither 3M, DuPont, nor, on information and belief, any other

          Defendant complied with their obligations to notify EPA about the “substantial risk of injury to

          health or the environment” posed by their AFFF/Component Products. See TSCA § 8(e).

                  242.    Despite decades of research, 3M first shared its concerns with EPA in the late

          1990s. In a May 1998 report submitted to EPA, “3M chose to report simply that PFOS had been

          found in the blood of animals, which is true but omits the most significant information,” according

          to a former 3M employee.23

                  243.    On information and belief, 3M began in 2000 to phase out its production of products

          that contained PFOS and PFOA in response to pressure from the EPA.



               23
                      Letter        from       R.       Purdy,    Mar.       28,   1999,       available   at
          https://www.ag.state.mn.us/Office/Cases/3M/docs/PTX/PTX1001.pdf.

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                 244.    Once the truth about PFOS and PFOA was revealed, researchers began to study the

          environmental and health effects associated with them, including a “C8 Science Panel” formed out

          of a class action settlement arising from contamination from DuPont’s Washington Works located

          in Wood County, West Virginia.

                 245.    The C8 panel consisted of three epidemiologists specifically tasked with

          determining whether there was a probable link between PFOA exposure and human diseases. In

          2012, the panel found probable links between PFOA and kidney cancer, testicular cancer,

          ulcerative colitis, thyroid disease, pregnancy-induced hypertension (including preeclampsia), and

          hypercholesterolemia.

                 246.    Human health effects associated with PFOS exposure include immune system

          effects, changes in liver enzymes and thyroid hormones, low birth weight, high uric acid, and high

          cholesterol. In laboratory testing on animals, PFOA and PFOS have caused the growth of tumors,

          changed hormone levels, and affected the function of the liver, thyroid, pancreas, and immune

          system.

                 247.    The injuries caused by PFAS can arise months or years after exposure.

                 248.    Even after the C8 Science Panel publicly announced that human exposure to 50

          parts per trillion, or more, of PFOA in drinking water for one year or longer had “probable links”

          with certain human diseases, including kidney cancer, testicular cancer, ulcerative colitis, thyroid

          disease, preeclampsia, and medically-diagnosed high cholesterol, Defendants repeatedly assured

          and represented to governmental entities, their customers, and the public (and continue to do so)

          that the presence of PFOA in human blood at the levels found within the United States presents no

          risk of harm and is of no legal, toxicological, or medical significance of any kind.




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                   249.    Furthermore, Defendants have represented to and assured such governmental

          entities, their customers, and the public (and continue to do so) that the work of the independent

          C8 Science Panel was inadequate to satisfy the standards of Defendants to prove such adverse

          effects upon and/or any risk to humans with respect to PFOA in human blood.

                   250.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

          minimized, trivialized, manipulated, and/or otherwise influenced the information that was

          published in peer-review journals, released by any governmental entity, and/or otherwise made

          available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

          risks associated therewith, effectively preventing the public from discovering the existence and

          extent of any injuries/harm as alleged herein.

                   251.    On May 2, 2012, the EPA published its Third Unregulated Contaminant Monitoring

          Rule (“UCMR3”), requiring public water systems nationwide to monitor for thirty contaminants

          of concern between 2013 and 2015, including PFOS and PFOA.24

                   252.    In the May 2015 “Madrid Statement on Poly- and Perfluoroalkyl Substances

          (PFAS’s),” scientists and other professionals from a variety of disciplines, concerned about the

          production and release into the environment of PFOA, called for greater regulation, restrictions,

          limits on the manufacture and handling of any PFOA containing product, and to develop safe non-

          fluorinated alternatives to these products to avoid long-term harm to human health and the

          environment.25




              24
                 Revisions to the Unregulated Contaminant Monitoring Regulation (UCMR 3) for Public Water Systems, 77
          Fed. Reg: 26072 (May 2, 2012).
              25
                 Blum A, Balan SA, Scheringer M, Trier X, Goldenman G, Cousins IT, Diamond M, Fletcher T, Higgins C,
          Lindeman AE, Peaslee G, de Voogt P, Wang Z, Weber R. 2015. The Madrid statement on poly- and perfluoroalkyl
          substances (PFASs). Environ Health Perspect 123:A107–A111; http://dx.doi.org/10.1289/ehp.1509934.

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                   253.     On May 25, 2016, the EPA released a lifetime health advisory (HAs) and health

          effects support documents for PFOS and PFOA.26 See Fed. Register, Vol. 81, No. 101, May 25,

          2016. The EPA developed the HAs to assist governmental officials in protecting public health

          when PFOS and PFOA are present in drinking water. The EPA HAs identified the concentration

          of PFOS and PFOA in drinking water at or below which adverse health effects are not anticipated

          to occur over a lifetime of exposure at 0.07 ppb or 70 ppt. The HAs were based on peer-reviewed

          studies of the effects of PFOS and PFOA on laboratory animals (rats and mice) and were also

          informed by epidemiological studies of human populations exposed to PFOS. These studies

          indicate that exposure to PFOS and PFOA over these levels may result in adverse health effects,

          including:

                       a. Developmental effects to fetuses during pregnancy or to breastfed infants (e.g., low

                            birth weight, accelerated puberty, skeletal variations);

                       b. Cancer (testicular and kidney);

                       c. Liver effects (tissue damage);

                       d. Immune effects (e.g., antibody production and immunity);

                       e. Thyroid disease and other effects (e.g., cholesterol changes).

                   254.     In addition, PFOS and PFOA are hazardous materials because they pose a “present

          or potential threat to human health.”27

                   255.     In 2016, the National Toxicology Program of the United States Department of

          Health and Human Services (“NTP”) and the International Agency for Research on Cancer



             26
                See Fed. Register, Vol. 81, No. 101, May 25, 2016, Lifetime Health Advisories and Health Effects Support
          Documents for Perfluorooctanoic Acid and Perfluorooctane Sulfonate.
               27
                  Id.; see also National Ass'n for Surface Finishing v. EPA, 795 F.3d 1, 3, 6 (D.C. Cir. 2015) (referring to PFOS
          as a “toxic compound” and a “hazardous chemical.”).

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          (“IARC”) both released extensive analyses of the expanding body of research regarding the

          adverse effects of PFCs. The NTP concluded that both PFOA and PFOS are “presumed to be an

          immune hazard to humans” based on a “consistent pattern of findings” of adverse immune effects

          in human (epidemiology) studies and “high confidence” that PFOA and PFOS exposure was

          associated with suppression of immune responses in animal (toxicology) studies.28

                    256.   IARC similarly concluded that there is “evidence” of “the carcinogenicity of . . .

          PFOA” in humans and in experimental animals, meaning that “[a] positive association has been

          observed between exposure to the agent and cancer for which a causal interpretation is . . .

          credible.”29

                    257.    California has listed PFOA and PFOS to its Proposition 65 list as a chemical known

          to cause reproductive toxicity under the Safe Drinking Water and Toxic Enforcement Act of

          1986.30

                    258.   The United States Senate and House of Representatives passed the National

          Defense Authorization Act in November 2017, which included $42 Million to remediate PFC

          contamination from military bases, as well as devoting $7 Million toward the Investing in Testing

          Act, which authorizes the Center for Disease Control and Prevention (“CDC”) to conduct a study

          into the long-term health effects of PFOA and PFOS exposure.31 The legislation also required that


              28
                 See U.S. Dep’t of Health and Human Services, Nat’l Toxicology Program, NTP Monograph: Immunotoxicity
          Associated with Exposure to Perfluorooctanoic Acid or Perfluorooctane Sulfonate (Sept. 2016), at 1, 17, 19, available
          at https://ntp.niehs.nih.gov/ntp/ohat/pfoa_pfos/pfoa_pfosmonograph_508.pdf
               29
                  See Int’l Agency for Research on Cancer, IARC Monographs: Some Chemicals Used as Solvents and in
          Polymer           Manufacture       (Dec.       2016),     at      27,      97,       available       at
          http://monographs.iarc.fr/ENG/Monographs/vol110/mono110.pdf.
               30
                  California Office of Environmental Health Hazard Assessment, Chemicals Listed Effective Nov. 10, 2017 as
          Known to the State of California to Cause Reproductive Toxicity: Perfluorooctanoic Acid (PFOA) and
          Perfluorooctane Sulfonate (PFOS), Nov. 9, 2017, available at https://oehha.ca.gov/proposition-65/crnr/chemicals-
          listed-effective-november-10-2017-known-state-california-cause.
               31
                  National Defense Authorization Act for Fiscal Year 2018, H.R. 2810, 115th Congress (2017), available at
          https://www.congress.gov/115/plaws/publ91/PLAW-115publ91.pdf.

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          the Department of Defense submit a report on the status of developing a new military specification

          for AFFF that did not contain PFOS or PFOA.32

                   259.   In June 2018, the Agency for Toxic Substances and Disease Registry (“ATSDR”)

          and EPA released a draft toxicological profile for PFOS and PFOA and recommended the drinking

          water advisory levels be lowered to 11 ppt for PFOA and 7 ppt for PFOS.33

                   260.   On February 20, 2020, the EPA announced a proposed decision to regulate PFOA

          and PFOS under the Safe Drinking Water Act, which the agency characterized as a “key milestone”

          in its efforts to “help communities address per- and polyfluoroalkyl substances (PFAS)

          nationwide.”34 Following a public comment period on its proposed decision, the EPA will decide

          whether to move forward with the process of establishing a national primary drinking water

          regulation for PFOA and PFOS.

                   E.     AFFF Containing PFOS and PFOA Is Fungible and Commingled in the
                          Groundwater

                   261.   AFFF containing PFOS and/or PFOA, once it has been released to the environment,

          lacks characteristics that would enable identification of the company that manufactured that

          particular batch of AFFF or chemical feedstock.

                   262.   A subsurface plume, even if it comes from a single location, such as a retention

          pond or fire training area, originates from mixed batches of AFFF and chemical feedstock coming

          from different manufacturers.



              32
                Id.; see also U.S. Department of Defense, Alternatives to Aqueous Film Forming Foam Report to Congress,
          June 2018, available at https://www.denix.osd.mil/derp/home/documents/alternatives-to-aqueous-film-forming-
          foam-report-to-congress/.
               33
                  ATSDR, Toxicological Profile for Perfluoroalkyls: Draft for Public Comment (June 2018), available at
          https://www.atsdr.cdc.gov/toxprofiles/tp200.pdf.
              34
                 Press Release, EPA Announces Proposed Decision to Regulate PFOA and PFOS in Drinking Water, Feb. 20,
          2020, available at https://www.epa.gov/newsreleases/epa-announces-proposed-decision-regulate-pfoa-and-pfos-
          drinking-water.

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                 263.    Because precise identification of the specific manufacturer of any given

          AFFF/Component Product that was a source of the PFAS found at Reese Air Force Base, during

          fire protection, training, and response activities, resulting in widespread PFAS contamination is

          nearly impossible, given certain exceptions, Plaintiffs must pursue all Defendants, jointly and

          severally.

                 264.    Defendants are also jointly and severally liable because they conspired to conceal

          the true toxic nature of PFOS and PFOA, to profit from the use of AFFF/Component Products

          containing PFOS and PFOA, at Plaintiffs’ expense, and to attempt to avoid liability.

                         MARKET SHARE LIABILITY, ALTERNATIVE LIABILITY,
                          CONCERT OF ACTION, AND ENTERPRISE LIABILITY

                 265.    Defendants in this action are manufacturers that control a substantial share of the

          market for AFFF/Component Products containing PFOS, PFOA, and/or their chemical precursors

          in the United States and are jointly responsible for the contamination of the groundwater at the

          Site, affecting groundwater sources within the vicinity of the base. Market share liability attaches

          to all Defendants and the liability of each should be assigned according to its percentage of the

          market for AFFF/Component Products at issue in this Complaint.

                 266.    Because PFAS is fungible, it is impossible to identify the exact Defendant who

          manufactured any given AFFF/Component Product containing PFOS, PFOA, and/or their

          chemical precursors found free in the air, soil or groundwater, and each of these Defendants

          participated in a territory-wide and U.S. national market for AFFF/Component Products during

          the relevant time.

                 267.    Concert of action liability attaches to all Defendants, each of which participated in

          a common plan to commit the torts alleged herein and each of which acted tortuously in pursuance




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          of the common plan to knowingly manufacture and sell inherently dangerous AFFF/Component

          Products containing PFOS, PFOA, and/or their chemical precursors.

                 268.     Enterprise liability attaches to all the named Defendants for casting defective

          products into the stream of commerce.

                                                   CONSPIRACY

                 269.     Defendants actually knew of the health and environmental hazards which PFOA

          and PFOS posed to Plaintiffs.

                 270.         Beginning in the 1970s and continuing through the date of this Complaint,

          Defendants formed joint task forces, committees and otherwise colluded for the avowed purpose

          of providing information about AFFF/Component Products containing PFOA and/or PFOS to the

          public and to government agencies with the unlawful purpose of:

                     a.      Creating a market for AFFF/Component Products containing PFOA and/or

                             PFOS despite knowledge of the hazards which PFOA and PFOS posed to the

                             groundwater in Colorado and the residents who depend on such water;

                     b.      Concealing the environmental properties and toxic nature of PFOA and PFOS,

                             and its impact on Plaintiffs and the environment; and

                     c.      Maximizing profits in a way Defendants knew or should have known would

                             result in the contamination of Plaintiffs’ drinking water.

                 271.     Defendants carried out their conspiracy by one or more of the following overt acts

          or omissions:

                     a.      Intentionally representing to the DOD, USAF, USEPA and the public that

                             AFFF/Component Products containing PFOA and PFOS were safe and did not

                             pose an environmental or human health risk;



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                     b.     Concealing the dangers of PFOA and PFOS (including toxicological

                            information on the dangers of the chemicals to living organisms, adverse fate

                            and transport characteristics, and the propensity of PFOA and PFOS to

                            contaminate groundwater) from the government and the public by, among other

                            means, repeatedly requesting that information about the dangers and health

                            effects of PFOA and PFOS be suppressed and not otherwise published, and by

                            downplaying any adverse findings relating to PFOA and PFOS;

                     c.     Concealing the dangers of AFFF/Component Products containing PFOA and

                            PFOS from end users, sensitive receptors, public water suppliers, and the users

                            and consumers of groundwater;

                     d.     Using their considerable resources to fight PFOA and PFOS regulation; and

                     e.     Collectively deciding to use PFOA and/or PFOS rather than other, safer

                            surfactants because AFFF/Component Products containing PFOA and/or PFOS

                            were the most profitable surfactant for Defendants to use.

                 272.        As a direct and proximate result of the Defendants’ above-described

          conspiracy, PFOA and PFOS, at all times relevant to this litigation has:

                     a.     Posed and continues to pose a health threat to Plaintiffs because it has

                            bioaccumulated in their bodies;

                     b.     Contaminated Plaintiffs’ property, soil, and groundwater, for those with private

                            water wells;

                     c.     Created the need for remediation of PFOA- and PFOS- contaminated

                            groundwater for those property owners who utilize private water wells, or,




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                              where remediation of the groundwater is impractical, installation of a system to

                              filter out PFOA and PFOS or procurement of water from alternative sources;

                                                  CAUSES OF ACTION

                                                      COUNT 1:
                                                  DEFECTIVE DESIGN

                  273.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                  274.     As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to all persons whom its products might

          foreseeably harm, including Plaintiffs, and not to market any product which is unreasonably

          dangerous in design for its reasonably anticipated used.

                  275.     Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                      a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                           and intended manner;

                      b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                      c. PFAS poses significant threats to public health; and

                      d. PFAS create real and potential environmental damage.

                  276.     Defendants knew of these risks and failed to use reasonable care in the design of

          their AFFF/Component Products.

                  277.     AFFF containing PFOS, PFOA, and/or their chemical precursors poses a greater

          danger to the environment and to human health than would be expected by ordinary persons such

          as Plaintiffs.




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                  278.    At all times, Defendants were capable of making AFFF/Component Products that

          did not contain PFOS, PFOA, and/or their chemical precursors. Thus, reasonable alternative

          designs existed which were capable of preventing Plaintiffs’ injuries.

                  279.    The risks posed by AFFF containing PFOS, PFOA, and/or their chemical

          precursors far outweigh the products’ utility as a flame-control product.

                  280.    The likelihood that Defendants’ AFFF/Component Products would be spilled,

          discharged, disposed of, or released into the environment and Plaintiffs’ water well has been, and

          continues to be, contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injuries and damages that far outweighed any burden on Defendants to adopt an

          alternative design, and outweighed the adverse effect, if any, of such alternative design on the

          utility of the product.

                  281.    As a direct and proximate result of Defendants’ unreasonably dangerous design,

          manufacture, and sale of AFFF/Component Products containing PFOS, PFOA, and/or their

          chemical precursors, Plaintiffs’ water supply has been, and continues to be, contaminated with

          PFAS in varying amounts over time, causing Plaintiffs significant injuries and damages.

                  282.    Defendants knew that it was substantially certain that their acts and omissions

          described above would contaminate Plaintiffs’ water supply with PFAS in varying amounts over

          time, causing Plaintiffs significant injuries and damages. Contamination that led to the exposure of

          Plaintiffs’ to toxins and increased their risk of numerous diseases. Defendants committed each of the

          above-described acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice,

          and with conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.




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                                                     COUNT 2:
                                                 FAILURE TO WARN

                 283.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 284.    As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants had a duty to provide adequate warnings of the risks of these

          products to all persons whom its product might foreseeably harm, including Plaintiffs.

                 285.    Defendants’ AFFF/Component Products were unreasonably dangerous for its

          reasonably anticipated uses for the following reasons:

                     a. PFAS causes extensive groundwater contamination, even when used in its foreseeable

                         and intended manner;

                     b. Even at extremely low levels, PFAS render drinking water unfit for consumption;

                     c. PFAS poses significant threats to public health; and

                     d. PFAS create real and potential environmental damage.

                 286.    Defendants knew of the health and environmental risks associated with their

          AFFF/Component Products and failed to provide a warning that would lead an ordinary reasonable

          user or handler of a product to contemplate the dangers associated with their products or an

          instruction that would have avoided Plaintiffs’ injuries.

                 287.    Despite Defendants’ knowledge of the environmental and human health hazards

          associated with the use and/or disposal of their AFFF/Component Products in the vicinity of drinking

          water supplies, including PFAS contamination of the drinking supplies, Defendants failed to issue

          any warnings, instructions, recalls, or advice regarding their AFFF/Component Products to Plaintiff,

          governmental agencies or the public.




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                   288.   As a direct and proximate result of Defendants’ failure to warn, Plaintiffs’ water

          supply has been, and continues to be, contaminated with PFAS in varying amounts over time,

          causing Plaintiffs significant injuries and damages. Further, this contamination led to the exposure

          of Plaintiffs to toxins and increased their probabilities of numerous diseases as more fully set forth

          above.

                   289.   Defendants knew that it was substantially certain that their acts and omissions

          described above would contaminate Plaintiffs water supply with PFAS in varying amount, causing

          Plaintiffs significant injuries and damages. Defendants committed each of the above-described

          acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

          conscious and/or reckless disregard for Plaintiffs’ health and safety, and/or property rights.

                                                      COUNT 3:
                                                     NEGLIGENCE

                   290.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                   291.   As manufacturers of AFFF/Component Products containing PFOS, PFOA, and/or

          their chemical precursors, Defendants owed a duty to Plaintiffs and to all persons whom its

          products might foreseeably harm and to exercise due care in the formulation, manufacture, sale,

          labeling, warning, and use of PFAS-containing AFFF.

                   292.   Defendants owed a duty to Plaintiffs to act reasonably and not place inherently

          dangerous AFFF/Component Products into the marketplace when its release into the air, soil, and

          water was imminent and certain.

                   293.   Defendants knew or should have known that PFAS were leaching from AFFF used

          for fire protection, training, and response activities.




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                 294.    Defendants knew or should have known that PFAS are highly soluble in water,

          highly mobile, extremely persistent in the environment, and high likely to contaminate water

          supplies if released into the environment.

                 295.    Defendants knew or should have known that the manner in which they were

          designing, manufacturing, marketing, distributing, and selling their AFFF/Component Products

          would result in contamination of Plaintiffs’ water supply with PFAS in varying amounts over time,

          causing Plaintiffs significant injuries and damages.

                 296.    Despite the fact that Defendants knew or should have known that PFAS are toxic,

          can contaminate water resources and are carcinogenic, Defendants negligently:

                     a. designed, manufactured, formulated, handled, labeled, instructed, controlled,

                         marketed, promoted, and/or sold AFFF/Component Products containing PFOS,

                         PFOA, and/or their chemical precursors;

                     b. issued deficient instructions on how their AFFF/Component Products should be used

                         and disposed of, thereby permitting PFAS to contaminate the groundwater in and

                         around the Site;

                     c. failed to recall and/or warn the users of their AFFF/Component Products of the

                         dangers of groundwater contamination as a result of standard use and disposal of their

                         products;

                     d. failed and refused to issue the appropriate warning and/or recalls to the users of their

                         AFFF/Component Products; and

                     e. failing to take reasonable, adequate, and sufficient steps or actions to eliminate,

                         correct, or remedy any contamination after it occurred.




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                 297.       The magnitude of the burden on the Defendants to guard against this foreseeable

          harm to Plaintiffs was minimal, as the practical consequences of placing this burden on the

          Defendants amounted to a burden to provide adequate instructions, proper labeling, and sufficient

          warnings about their AFFF/Component Products.

                 298.       As manufacturers, Defendants were in the best position to provide adequate

          instructions, proper labeling, and sufficient warnings about their AFFF/Component Products, and

          to take steps to eliminate, correct, or remedy any contamination they caused.

                 299.       As a direct and proximate result of Defendants’ negligence, Plaintiffs’ water supply

          has been contaminated with PFAS, in varying amounts of time, causing Plaintiffs significant

          injuries and damages.

                 300.       Defendants knew that it was substantially certain that their acts and omissions

          described above would cause Plaintiffs’ water supply to be contaminated with PFAS in varying

          amounts over time, causing Plaintiffs significant injuries and damages. Defendants committed

          each of the above-described acts and omissions knowingly, willfully, and/or with fraud,

          oppression, or malice, and with conscious and/or reckless disregard for Plaintiffs’ health and safety,

          and/or property rights.

                                                       COUNT 4:
                                                       TRESPASS

                 301.       Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 302.       Plaintiffs are the owners, operators, and actual possessors of real property as

          defined herein.

                 303.       Defendants    designed,    manufactured,     distributed,   marketed,    and   sold

          AFFF/Component Products with the actual knowledge and/or substantial certainty that AFFF


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          containing PFOS, PFOA, and/or their chemical precursors would, through normal use, release

          PFAS that would migrate into groundwater, causing contamination.

                    304.     Defendants negligently, recklessly, and/or intentionally designed, manufactured,

          distributed, marketed, and sold AFFF/Component Products in a manner that caused PFAS to

          contaminate Plaintiffs’ property.

                    305.     As a direct and proximate result of Defendants’ trespass, Plaintiffs have suffered

          and continues to suffer property damage requiring investigation, remediation, and monitoring

          costs.

                    306.     Defendants knew that it was substantially certain that their acts and omissions

          described above would threaten public health and cause extensive contamination of property,

          including groundwater collected for drinking. Defendants committed each of the above-described

          acts and omissions knowingly, willfully, and/or with fraud, oppression, or malice, and with

          conscious and/or reckless disregard for the health and safety of others, and for Plaintiffs’ property

          rights.

                                              COUNT 5:
                           ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                    307.     Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                    308.     Through their effectuation of the Spinoff, Chemours Co. and DuPont (the

          “Fraudulent Transfer Defendants”) caused Chemours Co. to transfer valuable assets to DuPont,

          including but not limited to the $3.9 billion dividend (the “Transfers”), while simultaneously

          assuming significant liabilities (the “Assumed Liabilities”).

                    309.     The Transfers and Assumed Liabilities were made for the benefit of DuPont.




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                 310.    At the time that the Transfers were made and the Liabilities were assumed, and

          until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

          Chemours Co.

                 311.    The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

          Liabilities with the actual intent to hinder, delay, and defraud the creditors or future creditors of

          Chemours Co.

                 312.    Plaintiffs have been harmed as a result of the conduct of the Fraudulent Transfer

          Defendants.

                 313.    Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                       COUNT 6:
                 CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours Co.)

                 314.    Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                 315.    Chemours Co. did not receive reasonably equivalent value from DuPont in exchange

          for the Transfers and Assumed Liabilities.

                 316.    Each of the Transfers and the assumption of the Assumed Liabilities by Chemours

          Co. was made to or for the benefit of DuPont.

                 317.    At the time that the Transfers were made, and the Assumed Liabilities were assumed,

          and until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

          Chemours Co.

                 318.    The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

          Liabilities when Chemours Co. was engaged or about to be engaged in a business for which its

          remaining assets were unreasonably small in relation to its business.


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                  319.   Chemours Co. was insolvent or in contemplation of insolvency at the time of the

          Transfers or became insolvent as a result of the Transfers and its assumption of the Assumed

          Liabilities.

                  320.   At the time that the Transfers were made and Chemours Co. assumed the Assumed

          Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

          have believed, that Chemours Co. would incur debts beyond its ability to pay as they became due.

                  321.   Plaintiffs have been harmed as a result of the Transfers.

                  322.   Plaintiffs are entitled to avoid the Transfers and to recover property or value

          transferred to DuPont.

                                                   COUNT 6:
                                              PUNITIVE DAMAGES

                  323.   Plaintiffs adopt, reallege, and incorporate the allegations in the preceding

          paragraphs and further alleges the following:

                  324.   Defendants engaged in willful, wanton, malicious, and/or reckless conduct that

          caused the foregoing damage upon Plaintiff, disregarding their protected rights.

                  325.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

          limited to Defendants’ failure to take all reasonable measures to ensure PFAS would not be

          released into the environment and inevitably to Plaintiffs’ water supply which was contaminated

          and continues to be contaminated with PFAS in varying amounts over time, causing Plaintiffs

          significant injury and damage.

                  326.   Defendants have caused great harm to Plaintiff, acting with implied malice and an

          outrageously conscious disregard for Plaintiffs’ rights and safety, such that the imposition of

          punitive damages is warranted.




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                                               PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs demand judgment against Defendants, and each of them, jointly

          and severally, and request the following relief from the Court:

                     a. a declaration that Defendants acted with negligence, gross negligence, and/or willful,

                         wanton, and careless disregard for the health, safety of Plaintiffs;

                     b. an award to Plaintiffs of general, compensatory, exemplary, consequential, nominal,

                         and punitive damages;

                     c. an order for an award of attorney fees and costs, as provided by law;

                     d. pre-judgment and post-judgment interest as provided by law;

                     e. compensatory damages according to proof including, but not limited to:

                                 i. costs and expenses related to the past, present, and future investigation,
                                    sampling, testing, and assessment of the extent of PFAS contamination
                                    at Plaintiffs’ water source;

                                 ii. costs and expenses related to past, present, and future treatment and
                                     remediation of PFAS contamination at Plaintiffs’ water source; and

                                 iii. costs and expenses related to past, present, and future installation and
                                      maintenance of filtration systems to assess and evaluate PFAS at
                                      Plaintiffs’ water source;

                     f. an order barring the transfer of DuPont’s liabilities for the claims brought in this

                         Complaint;

                     g. an award of punitive damages in an amount sufficient to deter Defendants’ similar

                         wrongful conduct in the future;

                     h. an award of consequential damages;

                     i. an order for an award of attorney fees and costs, as provided by law;

                     j. an award of pre-judgment and post-judgment interest as provided by law; and

                     k. an order for all such other relief the Court deems just and proper.


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                                          DEMAND FOR JURY TRIAL

                Plaintiffs demand a trial by jury of all issues so triable as a matter of right.



          DATED this 2nd day of March 2022.

                                                        Respectfully submitted,

                                                        NAPOLI SHKOLNIK

                                                        By: /s/ Patrick J. Lanciotti
                                                        Patrick J. Lanciotti
                                                        Andrew W. Croner
                                                        360 Lexington Avenue, 11th Fl.
                                                        New York, New York 10017
                                                        (212) 397-1000
                                                        planciotti@napolilaw.com
                                                        acroner@napolilaw.com


                                                        Paul J. Napoli
                                                        270 Munoz Rivera Avenue, Suite 201, Hato Rey,
                                                        Puerto Rico 00918
                                                        (833) 271-4502
                                                        pnapoli@nsprlaw.com




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